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    DEBRA SMITH                                                    March 22, 2011
                                                                               1

        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
        ------------------------------)
        JOHN KOGUT,                     )
                        Plaintiff,    )
                    vs.                 )              CV-06-6695
        THE COUNTY OF NASSAU, POLICE )
        COMMISSIONER DONALD KANE,     )
        POLICE COMMISSIONER WILLIAM   )
        J. WILLET (2005), POLICE      )
        COMMISSIONER JAMES LAWRENCE, )
        DETECTIVE SEAN SPILLANE       )
        (HEAD OF HOMICIDE 1985),      )
        DETECTIVE DENNIS FARRELL      )
        (HEAD OF HOMICIDE 2005),      )
        DETECTIVE JOSEPH VOLPE,       )
        DETECTIVE ROBERT DEMPSEY,     )
        DETECTIVE ALBERT MARTINO,     )
        DETECTIVE WANE BIRDSALL,      )
        DETECTIVE MILTON G. GRUBER,   )
        DETECTIVE CHARLES FRAAS,      )
        DETECTIVE FRANK SIRIANNI,     )
        DETECTIVE HARRY WALTMAN,      )
        P.O., MICHAEL CONNAUGHTON,    )
        P.O., WILLIAM DIEHL and       )
        JOHN DOES 1-5,                )
                        Defendants.   )
        ------------------------------)

            (Caption continues on next page.)




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      DEBRA SMITH                                                  March 22, 2011
                                                                               2
  1
  2     JOHN RESTIVO, DENNIS HALSTEAD,)
        MELISSA LULLO, JASON HALSTEAD,)
  3     HEATHER HALSTEAD and TAYLOR   )
        HALSTEAD,                     )
  4                    Plaintiffs,    )
                   vs.                  ) CV-06-6720
  5     NASSAU COUNTY; JOSEPH VOLPE, )
        in his individual capacity;   )
  6     ROBERT DEMPSEY, in his        )
        individual capacity; FRANK    )
  7     SIRIANNI, in his individual   )
        capacity; MILTON GRUBER, in   )
  8     his individual capacity; HARRY)
        WALTMAN, in his individual    )
  9     capacity; ALBERT MARTINO, in )
        his individual capacity;      )
 10     CHARLIE FRAAS, in his         )
        individual capacity;          )
 11     THOMAS ALLEN, in his          )
        individual capacity; RICHARD )
 12     BRUSA, in his individual      )
        capacity; VINCENT DONNELLY,   )
 13     in his individual capacity;   )
        MICHAEL CONNAUGHTON, in his   )
 14     individual capacity; WAYNE    )
        BIRDSALL, in his individual   )
 15     capacity; WILLIAM DIEHL, in   )
        his individual capacity;      )
 16     JACK SHARKEY, in his          )
        individual capacity; DANIEL   )
 17     PERRINO, in his individual    )
        capacity; ANTHONY KOZIER, in )
 18     his individual capacity;      )
        DETECTIVE SERGEANT CAMPBELL   )
 19     (SHIELD #48), in his          )
        individual capacity; SEAN     )
 20     SPILLANE, in his individual   )
        capacity; and RICHARD ROE     )
 21     SUPERVISORS #1-10, in his     )
        individual capacity.          )
 22                    Defendants.    )
        ------------------------------)
 23
 24
 25

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      DEBRA SMITH                                                  March 22, 2011
                                                                                          3
  1
  2         DEPOSITION in the above-entitled matter,
  3     held at the offices of Grandinette & Serio
  4     LLP, 114 Old Country Road, Mineola, New York,
  5     before Helga Christiane Lavan, a Notary Public
  6     of the State of New York.
  7
  8                                         March 22, 2011
  9                                         114 Old Country Road
 10                                         Mineola, New York
 11
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      DEBRA SMITH                                                  March 22, 2011
                                                                               4
  1
  2     A P P E A R A N C E S:
  3
        GRANDINETTE & SERIO, LLP
  4     Attorneys for Plaintiff-John Kogut
        114 Old Country Road
  5     Mineola, New York 11501
  6        BY: ANTHONY GRANDINETTE, ESQ.
  7
  8     NEUFELD, SCHECK & BRUSTIN, LLP
        Attorneys for Plaintiffs-John Restivo, Dennis
  9     Halstead, Melissa Lullo, Jason Halstead,
        Heather Halstead and Taylor Halstead
 10     99 Hudson Street
        New York, New York 10013
 11
            BY:     DEBORAH CORNWALL, ESQ.
 12
 13
        LORNA B. GOODMAN
 14     Nassau County Attorney
        One West Street
 15     Mineola, New York 11501
 16        BY: MICHAEL J. FERGUSON, ESQ.
                Deputy County Attorney
 17
 18
        ALSO PRESENT:
 19
        LOUIS FREEMAN, ESQ., Deputy County Attorney
 20
        NADJIA LIMANI, Esq.
 21
 22
 23
 24
 25

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      DEBRA SMITH                                                  March 22, 2011
                                                                                          5
  1                                   Smith
  2                 (Whereupon, Exhibits 263 and 264 were
  3     marked for identification.)
  4                  Whereupon,
  5                               DEBRA SMITH,
  6     after having been first duly sworn, was
  7     examined and testified as follows:
  8     EXAMINATION BY
  9     MS. CORNWALL:
 10           Q.    Good morning, Ms. Smith.
 11           A.    Good morning.
 12           Q.    Have you ever had your testimony
 13     taken before in a deposition like this, in a
 14     room where you had a court reporter and people
 15     asking you questions?
 16           A.    Yes.
 17           Q.    You have.        When was that?
 18     Approximately.
 19           A.    About a month ago.
 20           Q.    Oh, it was.         And were you a party in
 21     a lawsuit?
 22           A.    Yes.
 23           Q.    Was it a civil lawsuit?               Was someone
 24     asking for money?
 25           A.    Yes.

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      DEBRA SMITH                                                  March 22, 2011
                                                                                          6
  1                                   Smith
  2           Q.    And were you the party seeking money?
  3           A.    Yes.
  4           Q.    What was the nature of that lawsuit
  5     that you were giving testimony about?
  6           A.    I had -- it was a slip and fall at
  7     711 and they hadn't had any marking on the
  8     part where I fell and I hurt myself.
  9           Q.    And did you give testimony under oath
 10     in that action?
 11           A.    I did.
 12           Q.    Other than the slip and fall lawsuit
 13     where you gave testimony about a month ago,
 14     have you ever done a deposition before?
 15           A.    No.
 16           Q.    So you've done it once before.                     But
 17     I'll just explain again for you briefly how it
 18     works here.        Okay?
 19                 I'll be asking you some questions.                          I
 20     represent the plaintiffs in this lawsuit who
 21     are John Restivo and Dennis Halstead in a
 22     lawsuit against Nassau County and some of its
 23     police officers in connection with their
 24     wrongful conviction for a crime they didn't
 25     commit.      The attorneys at the other side of

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      DEBRA SMITH                                                  March 22, 2011
                                                                                          7
  1                                   Smith
  2     the table, one of whom I think you've met,
  3     Michael Ferguson from county attorney's
  4     office.
  5           A.    Yes.
  6           Q.    Nadjia Limani and Lou Freeman are
  7     outside lawyers who the county also hired to
  8     defend the county in the lawsuit.                    Okay?
  9                 So I will be asking questions first.
 10     If you don't understand my question, please
 11     just let me know.            If you have questions, feel
 12     free to ask them.            If you want to take a break
 13     at any point, feel free.               Just let us know.
 14                 The court reporter, as you can see,
 15     is going to be writing down everything that is
 16     said so that we have it in writing later on.
 17     When I'm finished asking questions, one of the
 18     lawyers on the other side will have a chance
 19     to ask questions as well.                All right?          When
 20     you're asked a question can you answer
 21     verbally in a "yes" or "no" or whatever your
 22     answer is, just so the court reporter can
 23     write it down.
 24           A.    Okay.
 25           Q.    Because she can't write down nods or

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      DEBRA SMITH                                                  March 22, 2011
                                                                                          8

  1                                    Smith
  2     shakes of the head.
  3         A. Right.
  4         Q. Okay.
  5             From time to time you might hear one
  6     of the lawyers say "objection." Because
  7     there's no judge here to make a ruling on an
  8     objection, you can go ahead and answer and
  9     that objection will be ruled upon at some
 10     later time. All right?
 11             Any other questions about the process
 12     before we start?
 13         A. No.
 14         Q. Your full name again, please?
 15         A. Debra Smith.
 16         Q. You said you're D-E-B-R-A, Debra?
 17         A. Yes.
 18         Q. And you live in what town?
 19         A. East Meadow.
 20         Q. Do you live with anyone else?
 21         A. No.
 22         Q. Where did you go to school?
 23         A. East Meadow High School; Nassau
 24     Community College; Upstate Medical Center;
 25     Hofstra University; Adelphi University.

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      DEBRA SMITH                                                  March 22, 2011
                                                                                          9

  1                          Smith
  2         Q. Okay. I'm going to ask you to answer
  3     a little bit more slowly so I can get some
  4     more detail about each of those.
  5              Did you graduate from East Meadow
  6     High School?
  7         A. Yes, I did.
  8         Q. When was that?
  9         A. 1974.
 10         Q. And after that where did you go?
 11         A. Nassau Community College.
 12         Q. How long were you there?
 13         A. Two years.
 14         Q. Did you receive a degree?
 15         A. Yes. Associate of science.
 16         Q. What discipline of science?
 17         A. Pre-physical therapy.
 18         Q. After Nassau County Community College
 19     where you got your associates, where did you
 20     go next?
 21         A. Upstate Medical Center.
 22         Q. What did you study there?
 23         A. Physical therapy.
 24         Q. Did you receive a degree?
 25         A. No. I withdrew after my first

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      10

   1                                    Smith
   2     semester.
   3         Q. Why did you withdraw?
   4         A. I thought I was pregnant.
   5         Q. You mentioned one other institution
   6     after Upstate Medical?
   7         A. I went back to Nassau Community
   8     College.
   9         Q. What did you study there?
  10         A. I got a certificate of data
  11     processing.
  12         Q. Do you recall what year that was?
  13         A. That was 1979. One full year. 1979
  14     until August of '80.
  15         Q. So you got your certificate around
  16     August of 1980?
  17         A. Right.
  18         Q. Then after Nassau County Community
  19     College, where did you study next?
  20         A. Hofstra University.
  21         Q. What did you study at Hofstra?
  22         A. Computer science.
  23         Q. Was that a bachelors degree program?
  24         A. Yes.
  25         Q. Did you complete your bachelors?

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      11

   1                                   Smith
   2         A. Yes.
   3         Q. When did you get your degree?
   4         A. August 1983.
   5         Q. Once you graduated with your
   6     bachelors in computer science from Hofstra in
   7     August of '83, did you work?
   8         A. Yes.
   9         Q. What was your first job?
  10         A. I worked --
  11         Q. After you graduated from college.
  12         A. American Technical Ceramics.
  13         Q. What did you do for American
  14     Technical Ceramics?
  15         A. Computer programmer and systems
  16     analyst.
  17         Q. How long did you work there?
  18         A. One year. From approximately May of
  19     '84 to May of '85.
  20         Q. Was that a Monday-through-Friday job?
  21         A. Monday through Friday, 8 to 4 or 9 to
  22     5. No. 8 to 4, 8 to 5.
  23         Q. You didn't work on the weekends,
  24     though, when you worked that job?
  25         A. Oh, yes, I did.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      12
   1                                   Smith
   2          Q.     You did?
   3          A.     I worked at nights cleaning houses
   4     and boats.       And I had one other job and I
   5     don't remember what it was, whether it was the
   6     restaurant or taxi driver.
   7          Q.     At some point in 1984 and '85 you
   8     worked as a taxi driver?
   9          A.     I'm not sure when it was.                I started
  10     around '78, '79 and worked until about '82.
  11     But I know I had, like, three jobs at that
  12     time.
  13          Q.     Who did you drive taxis for?
  14          A.     Lynbrook.
  15          Q.     Lynbrook Cab?
  16          A.     Lynbrook Taxi.
  17          Q.     And you mentioned one other thing
  18     other than cleaning.             Taxi driving and a
  19     restaurant, I think you said?
  20          A.     At that time period I worked
  21     part-time at a restaurant, a diner.
  22          Q.     Where was the diner?
  23          A.     In East Meadow.
  24          Q.     What did you do for them?
  25          A.     Waitress.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      13
   1                                   Smith
   2          Q.      Were you, to the best of your memory,
   3     waitressing in the evenings in 1984 and '85?
   4          A.      Evenings -- I think it was weekends.
   5     It might have been slightly before that time
   6     period.       I don't remember exactly.               I know I
   7     had three jobs.
   8          Q.      What was the name of the diner, if
   9     you remember?
  10          A.      Apollo.
  11          Q.      After you left American Tech
  12     Ceramics, what was the next full-time job that
  13     you had after May of '85?
  14          A.      Well, at that point I went to Europe
  15     for about two months.             So I was in Europe for
  16     two months.        From June 2nd of 1985 to around
  17     July 23th or 25th of '85.
  18          Q.      And did you get a job when you
  19     returned back to the states?
  20          A.      Yeah.    But I'm having trouble
  21     remembering what job it was.                 I don't
  22     remember.       Because I don't think I worked it
  23     that long.       I forgot the name -- it was in New
  24     York.       I forgot the name of the place.
  25          Q.      Okay.    Why don't we fast forward to

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      14

   1                                   Smith
   2     are you working now?
   3         A. No. I'm not.
   4         Q. How long has it been since you've had
   5     a job?
   6         A. 2001.
   7         Q. What job did you have up to 2001?
   8         A. I was a Cisco engineer, teacher's
   9     assistant.
  10         Q. Cisco?
  11         A. Yes. C-I-S-C-O.
  12         Q. For the company Cisco?
  13         A. Yes. They make routers and switches
  14     and all that.
  15         Q. And then you were also a teacher's
  16     assistant?
  17         A. Yes.
  18         Q. Was that a separate job from the
  19     Cisco job?
  20         A. No. That's a type of engineer you
  21     are. That's the type of router, type of
  22     switch. Cisco.
  23         Q. How long did you work for Cisco?
  24         A. No, I didn't work for Cisco. I
  25     worked for Computer Career Center.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      15

   1                                   Smith
   2          Q. Thank you.            As a teacher's assistant?
   3          A. Right.
   4          Q. For the Cisco type of router?
   5          A. Right.
   6          Q. Okay. Thank you. I got it.
   7             So how long did you work for the
   8     Computer Career Center before you stopped in
   9     2001?
  10         A. About a year -- about 14 months.
  11     From June of 2000 to August of 2001.
  12         Q. And generally over the period between
  13     1985 and 2000, did you work and have jobs?
  14         A. Not after -- when I had my first
  15     child, that was 1989. So from -- when I got
  16     pregnant, from that time period, '89 to
  17     present, I've mostly been a full-time mother.
  18     I have three children.
  19         Q. How old are your kids?
  20         A. 21, 19, 13.
  21         Q. Did you have any full-time work after
  22     you had your first kid?
  23         A. No.
  24         Q. Let's go back and talk about November
  25     and December of 1984 for a moment. Okay?

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      16

   1                                    Smith
   2         A. Okay.
   3         Q. In December of 1984, do you recall
   4     contacting the Nassau County Police
   5     Department's homicide unit?
   6         A. Yes, I do.
   7         Q. How old were you approximately when
   8     you made that call?
   9         A. So I would be 28.
  10         Q. And at that time where did you live?
  11         A. East Meadow.
  12         Q. Were you in the same house that you
  13     live in now?
  14         A. No. That's my father's home in East
  15     Meadow.
  16         Q. Where you lived back then?
  17         A. Right.
  18         Q. Okay. Were you living with family
  19     then?
  20         A. Yes.
  21         Q. Who specifically in your family were
  22     you living with back when you made that call
  23     to the police?
  24         A. You know, I forget when some of the
  25     sisters and brothers moved out. But I have

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      17
   1                                   Smith
   2     five sisters and brothers.                So it would have
   3     been a few of the sisters and brothers.
   4          Q.     Were your parents alive and living
   5     there?
   6          A.     Yes.
   7          Q.     When, at the age of about 28, you
   8     called Nassau County police in December of
   9     '84, were you at that point working at
  10     American Technical Ceramics?
  11          A.     Yes, I was.
  12          Q.     Was that at 15 Stepar Place?
  13          A.     15 Stepar Place, Huntington Station.
  14          Q.     Take a look, if you would.                I'm going
  15     to show you a couple of documents to establish
  16     the timeline and then I'll ask you some more
  17     questions.
  18                 I'm showing you what was marked
  19     Exhibit 168, a missing poster for Theresa
  20     Fusco.      Also showing you what I've marked
  21     today -- and I've given counsel a copy of --
  22     Exhibit 263, which is a newspaper article with
  23     the headline "Missing Teen Girl's Nude Body
  24     Found in Long Island Woods."
  25                 Do you see the date on the top of

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      18
   1                                   Smith
   2     that article of the New York Post story?
   3          A.     It says Friday, December 7th.
   4          Q.     Of what year?
   5          A.     1984.
   6          Q.     Do you see the caption under the
   7     photograph?        Could you read that to us?
   8          A.     "Pretty murder victim Theresa Fusco,
   9     16, with friend recently."
  10          Q.     Okay.     Thank you.
  11                 So Theresa Fusco had been missing and
  12     then her body was found soon before December
  13     7th of 1984 as reflected in this article.                           Do
  14     you have that timing?
  15                 MR. FREEMAN:         Objection to the form
  16     of the question.
  17          Q.     Do you have that timing in mind?
  18          A.     I never knew anything about Theresa
  19     Fusco, the crime, the guys who were convicted.
  20     I never knew anything about it.                   All I knew is
  21     the call I made and the identification of a
  22     car.
  23          Q.     Okay.     And I'm going to ask you some
  24     questions about that.
  25          A.     And when I look at the statement, I

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     see my timeline is different.
   3         Q. Okay. We're going to ask you some
   4     questions about that.
   5             First of all, I see you looking at
   6     Mr. Ferguson who has a lovely smile on his
   7     face. You've met him before?
   8         A. Yes.
   9         Q. When did you meet with Mr. Ferguson?
  10         A. I met with Mr. Ferguson, oh, about a
  11     month ago or so.
  12         Q. Where was the meeting?
  13         A. My apartment.
  14         Q. How was the meeting set up?
  15         A. I called him to ask him about this
  16     deposition. Because I had questions that I
  17     didn't think I could be of any help and why
  18     was I being subpoenaed.
  19         Q. How did you find his phone number?
  20         A. I had trouble. I called the District
  21     Attorney's office in, I guess it's Mineola
  22     there, at the D.A.'s office, and they told me
  23     there was no Mr. Ferguson there. And then
  24     they must have thought about the County
  25     Attorney's office and called them over there

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      20
   1                                   Smith
   2     and that's how we got together.
   3                 And then I saw him one other time.                         I
   4     was in Pilgrim State Hospital for psychiatric
   5     care and he came to talk to me.
   6          Q.     When did he come to talk to you when
   7     you were in the hospital?
   8          A.     I don't remember exactly even what
   9     year that was.          What was it?         About 2008?            I'm
  10     not sure.       You would have to ask Mr. Ferguson.
  11          Q.     How did he -- withdrawn.
  12                 How did he come to visit you in the
  13     Pilgrim State Hospital?
  14          A.     He told me he wanted to ask me some
  15     questions about a statement I made to the
  16     police about Theresa Fusco.
  17          Q.     So he contacted you while you were in
  18     Pilgrim State Hospital?
  19          A.     Yes.
  20          Q.     At that point, you hadn't made a call
  21     to him before he contacted you?
  22          A.     No.    I don't believe so.
  23          Q.     Were you surprised to be getting a
  24     phone call from a county attorney while you
  25     were in the Pilgrim State Hospital?

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      21
   1                                   Smith
   2          A.     No.    I just assumed they had some
   3     questions for the questions.                 I had been
   4     called by the police to identify the car.                           I
   5     figured maybe something about the car panned
   6     out or didn't pan out.              I don't know.           So they
   7     had questions.
   8          Q.     When you say you were called by the
   9     police about the car and to identify the car,
  10     when was that?
  11          A.     That was back in '84.
  12          Q.     After 1984, since 1984, has any
  13     Nassau County police official ever contacted
  14     you again about the car or your statement?
  15          A.     Not that I can remember.
  16          Q.     Let's talk about the meeting you had
  17     with Mr. Ferguson when you were in Pilgrim
  18     State Hospital.          You mentioned you think it
  19     might have been 2008?             Can you be any more
  20     specific?
  21          A.     You know, I could actually get a
  22     record and see when I was there and then I
  23     could give you the information.                   But off the
  24     top of my head, no.
  25          Q.     What's your best memory of when you

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     were there?
   3          A.      Must have been around 2008 or 2009.
   4          Q.      How long were you there?
   5          A.      A couple of months.
   6          Q.      May I ask why?
   7          A.      I have a bipolar disorder and I had
   8     a -- I guess they thought I was symptomatic.
   9          Q.      Before you went into Pilgrim State
  10     Hospital, had you been medicated for your
  11     bipolar disorder?
  12          A.      I seldomly (sic) took the medication
  13     as it makes you very fat.               As I'm medicated
  14     now on it which makes you --
  15          Q.      Toxic?
  16          A.      Very.    And it's very hard to deal
  17     with.       Usually the way I am now, pretty lucid
  18     and clear, maybe I get a little hyper.                        But I
  19     didn't think it was a felony offense.                       So I
  20     prefer not to take the lithium.                   But now I
  21     have to give it a try because I've had too
  22     many hospitalizations.              And I decided to give
  23     it a try and it's blown me up a hundred pounds
  24     over my normal weight.              So it's a problem.
  25          Q.      That's tough.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      23
   1                                   Smith
   2          A.     Yeah.     It is.
   3          Q.     You had mentioned you had other
   4     hospitalizations.           Were they other psychiatric
   5     hospitalizations?
   6          A.     Yes.
   7          Q.     When is the first time that you were
   8     hospitalized for your bipolar disorder?
   9          A.     Around '78, '79.
  10          Q.     As of '78, '79 had you yet been
  11     diagnosed with bipolar disorder?
  12          A.     That was the very first diagnosis.
  13          Q.     And where were you hospitalized then?
  14          A.     Nassau County Medical Center.
  15          Q.     For how long?
  16          A.     Then, it was only about usually 7
  17     days or 10 days.
  18          Q.     What's the next time you were
  19     hospitalized for the bipolar disorder?
  20          A.     I don't remember.           I've had many.
  21     And that's why this time, no matter how fat I
  22     get, I'm giving it a try.               No matter -- or
  23     toxic or lethargic, you get very lethargic.
  24     I'm giving it a try.
  25          Q.     Have you been diagnosed with any

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     other disorder other than bipolar disorder?
   3          A.     Sometimes they'll put in -- they'll
   4     say bipolar, schizoaffective.                 They give it
   5     other names.
   6          Q.     When were you first diagnosed with
   7     schizoaffective disorder?
   8          A.     I couldn't begin to tell you.                   I
   9     couldn't even remember.
  10          Q.     Was it before 1984 or since then?
  11          A.     I don't know.         Because I was always
  12     in the hospital for bipolar.                 And then when I
  13     was in Pilgrim, they had added schizoaffective
  14     to it.      So I'm not sure if it had been there
  15     ever before or that was the first time.
  16          Q.     When is the first time you were
  17     hospitalized in Pilgrim State?
  18          A.     It was only that one time.                2008 or
  19     so, or thereabouts.
  20          Q.     And that's the first time you became
  21     aware --
  22          A.     Maybe 2009.
  23          Q.     And so when you were in Pilgrim State
  24     in 2008 or 2009, was that the first time you
  25     became aware that anyone had given you a

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      25

   1                         Smith
   2     diagnosis of schizoaffective disorder other
   3     than your bipolar disorder?
   4         A. Right.
   5         Q. Had you ever been diagnosed with any
   6     other psychiatric condition?
   7         A. I don't think so. I've been
   8     basically a true case of manic depression,
   9     which is bipolar.
  10         Q. And other than lithium, have you
  11     taken any other medication for it?
  12         A. I tried Depakote but that blew me up
  13     to even a fatter balloon, that I had to then
  14     lose a hundred pounds to get back in shape.
  15         Q. When were you on the Depakote? Do
  16     you recall when you tried it?
  17         A. I think it was Pilgrim.
  18         Q. You mentioned you had had a number of
  19     hospitalizations for this condition?
  20         A. Yes.
  21         Q. Can you give me your best estimate?
  22     More than five hospitalizations?
  23         A. Yes.
  24         Q. More than ten hospitalizations?
  25         A. I would say so. I would say about a

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     dozen.
   3         Q. You mentioned the first one was 1978
   4     or '79?
   5         A. Yes.
   6         Q. At Nassau County Medical Center?
   7         A. Yes.
   8         Q. What was the next time you were
   9     hospitalized after that?
  10         A. Oh, you're asking me --
  11         Q. I know.
  12         A. I don't have a clue. I don't write
  13     these numbers down. I can't even remember a
  14     recent one like Pilgrim, which is 2008 or
  15     2009.
  16         Q. Let me ask you a different way to see
  17     if that helps.
  18         A. It won't.
  19         Q. Let's just see. Maybe it will, maybe
  20     it won't.
  21         A. All right.
  22         Q. Before you called the police in
  23     December of 1984, how many times had you been
  24     hospitalized?
  25         A. Maybe about three.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      27
   1                                   Smith
   2          Q.     And when you called the police in
   3     December of 1984, what was the most recent
   4     hospitalization?
   5          A.     I had a hospitalization May of '84.
   6     I know that because I did it right before I
   7     went to Europe.          I came out of the hospital in
   8     ten days, packed and went to Europe.
   9          Q.     Where were you hospitalized in May of
  10     1984?
  11          A.     Nassau County Medical Center.
  12          Q.     Did Mr. Ferguson tell you when he met
  13     with you at Pilgrim how he found out you were
  14     at Pilgrim?
  15          A.     No.    I don't remember anything about
  16     that.
  17          Q.     Did you ask him how he found you?
  18          A.     No.    I wasn't surprised at all.                   He's
  19     like a little detective himself.                   He's a
  20     lawyer.      He can figure these mind things out.
  21          Q.     Yes, he can.
  22                 Was anyone with him when you met with
  23     him at Pilgrim State?
  24          A.     He was alone.
  25          Q.     And you mentioned -- withdrawn.

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2             How long did you meet with Michael
   3     Ferguson at Pilgrim State?
   4         A. When you're in the hospital it's
   5     always nice to have a visitor. So to me, it
   6     seemed like a very short time. But maybe an
   7     hour? I don't know.
   8         Q. Did he take any notes while you two
   9     were talking?
  10         A. Yes.
  11         Q. Did you sign anything for him?
  12         A. No. I don't believe so.
  13         Q. What did he ask you?
  14         A. He asked me did I remember anything
  15     about Theresa Fusco. And then he had to
  16     remind me a few things about the situation,
  17     the year or whatever. And then I told him
  18     what I remembered.
  19         Q. Did he show you anything?
  20         A. No.
  21         Q. For example, the Missing poster or
  22     this statement?
  23         A. No.
  24         Q. Nothing like that?
  25         A. No. I don't believe so.

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2         Q. And then you mentioned you met with
   3     him a second time about a month ago after you
   4     received the subpoena for this deposition?
   5         A. Shortly -- not a month after I
   6     received the subpoena. But a short duration
   7     after I received the subpoena.
   8         Q. Thank you. And the meeting was about
   9     a month or so ago?
  10         A. Right. I think so.
  11         Q. And the meeting was at your house?
  12         A. Yes.
  13         Q. How long was that meeting?
  14         A. An hour or two.
  15         Q. Was anyone else with Mr. Ferguson?
  16         A. No.
  17         Q. At this meeting did he show you
  18     anything?
  19         A. No.
  20         Q. At this meeting did he ask you to
  21     sign anything?
  22         A. No.
  23         Q. So what did he say to you and what
  24     did you say to him during that hour or two?
  25         A. Well, he was going over the history

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     and I was telling him some of my wilder
   3     adventures, about my adventures in Europe,
   4     unusual things that had happened.
   5          Q.     Like what?
   6          A.     Oh, I would rather not say.
   7                 I ended up being in the Middle East
   8     by Afghanistan, by Iran, Iraq, Egypt, the Gaza
   9     Strip where the Palestinians are, that area.
  10     Israel, northern Africa.               So I've been to all
  11     those different areas.              And I talked about the
  12     adventures I got into, about how the ship I
  13     was on was the -- that ship that the summer of
  14     1985 got hijacked, you know, the Jewish man
  15     got shot and then pushed overboard?
  16          Q.     The Achille Lauro?
  17          A.     Yeah.
  18          Q.     You were on the Achille Lauro?
  19          A.     Yeah.
  20          Q.     Must have been terrifying.
  21          A.     My buddy was one of the terrorists.
  22     He promised me that I was such a nice person
  23     that he wouldn't hurt me.
  24          Q.     And it worked out?
  25          A.     Yeah.     I managed to get off the ship.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      31
   1                                   Smith
   2          Q.     And this was in 1985?
   3          A.     Yeah.
   4          Q.     So your passport must be full of
   5     stamps.
   6          A.     You know, that passport I got in 1985
   7     and it was full of stamps, everywhere, every
   8     European country, and in the Middle East.
   9     But, you know, I don't have my passport
  10     anymore because I lost it.                When it had
  11     expired, I must have been careless with it.                              I
  12     don't have it.
  13          Q.     Did you send it in when you applied
  14     for a new one after it expired?
  15          A.     No.    I never had a passport since
  16     that one in '85, that expired in '95.                       Because
  17     I was home with the kids.               Where was I going
  18     to go with kids?           I don't have money or
  19     wherewith all to go on a trip like that ever
  20     again.      That was, like, once in a lifetime.
  21     Besides, I'm not such a brave traveler
  22     anymore.      I'm kind of reticent.               So I told him
  23     some of the stories like that.
  24          Q.     I understand.
  25                 Debbie, does the bipolar disorder

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     have any impact on your ability to see?
   3         A. No.
   4         Q. Does your bipolar disorder have any
   5     impact on your ability to hear?
   6         A. No.
   7         Q. Does your bipolar disorder have any
   8     impact on your memory?
   9         A. It might. If I'm very medicated.
  10         Q. I'm asking right now. I will ask
  11     about the effects of your medication in a
  12     moment. Right now I'm just --
  13         A. I don't think it has an effect on the
  14     memory.
  15         Q. So now I would like to ask you the
  16     same questions for the lithium. But first,
  17     you've been taking lithium on and off since
  18     your first diagnosis?
  19         A. Once I was out of the hospital, I
  20     never took it. I never took it because I
  21     didn't like how it blew me up like a balloon.
  22     My vanity. And also, I could function very
  23     well without it. And I found that on it, I
  24     couldn't function. Like, I was like a
  25     sluggish snail. Very sluggish.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      33
   1                                   Smith
   2          Q.     So when you say after you got out of
   3     the hospital you didn't take it, starting when
   4     did you stop taking the lithium?
   5          A.     Every time -- this is the first time
   6     in my life that I have consistently taken it
   7     regardless of no matter how fat I got.                        I
   8     said, okay, I got to do it because I can't
   9     have another hospitalization.                 This is
  10     ridiculous.
  11                 I'm an educated person, smart,
  12     personable person.            If I need this to level me
  13     off, then that's what I'm going to take.                          So
  14     this is the first time I've taken it
  15     consistently.
  16          Q.     So is it fair to say, then, that in
  17     November and December of 1984 -- withdrawn.
  18                 Is it fair to say, then, that in
  19     November and December of 1984 you were not
  20     taking lithium or any other medication?
  21          A.     I'm pretty sure that I wasn't.
  22          Q.     When you are taking lithium -- first
  23     of all, are you on lithium today?
  24          A.     Yes.
  25          Q.     Does the lithium have any impact on

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      34
   1                                   Smith
   2     your ability to understand my questions?
   3          A.     No.
   4          Q.     Any impact on your ability to give
   5     truthful testimony?
   6          A.     I believe not.
   7          Q.     Any impact at all, the lithium has,
   8     on your ability to remember?
   9          A.     No.    I don't think so.
  10          Q.     So is it fair to say that only during
  11     the periods when you were heavily medicated,
  12     those would be the only times when there might
  13     have been an impact of the medication on your
  14     ability to remember?
  15          A.     Possibly.       Yes.     Yes.     Possibly.
  16          Q.     Other than lithium, are you on any
  17     other medication today?
  18          A.     Risperdal.
  19          Q.     What is Risperdal?
  20          A.     It's an antipsychotic, I believe.                       I
  21     think.      I think so.
  22          Q.     When were you first prescribed
  23     Risperdal?
  24          A.     In the hospital.
  25          Q.     And when you say in the hospital, are

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      35
   1                                   Smith
   2     you referring to Pilgrim State?
   3          A.     No.    Long Beach -- I went to Long
   4     Beach for a different doctor, better doctor.
   5     And Nassau County Medical Center was too full.
   6     So I went to Long Beach Medical Center.
   7          Q.     What year was that?            Approximately.
   8          A.     That would be 2010.
   9          Q.     So within the last year was the first
  10     time that you were prescribed Risperdal?
  11          A.     Yes.
  12          Q.     And what was the condition that
  13     you're diagnosed with that warrants the
  14     Risperdal?
  15          A.     That's -- I think it's also another
  16     mood stabilizer.           Just to -- because I'm not
  17     prone to -- I'm not prone to psychotic
  18     hallucinations or delusions.                 So I would say
  19     it's mostly as to balance -- to work in
  20     conjunction with a mood stabilizer.
  21          Q.     So are you taking a separate mood
  22     stabilizer other than the Risperdal?
  23          A.     No.    That would be it.            Lithium and
  24     Risperdal.
  25          Q.     Those are the only two medications

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     you currently take?
   3         A. I take a side-effect -- one medicine,
   4     like Cogentin for side effects.
   5         Q. What are the side effects the
   6     Cogentin helps with?
   7         A. Shaking hands, muscle rigidity. And
   8     that's about it.
   9         Q. You mentioned that you're not prone
  10     to hallucinations or delusions?
  11         A. No I'm not.
  12         Q. When you say you're not prone, have
  13     you ever been hospitalized for -- or
  14     presenting with symptoms of hallucinations or
  15     delusions?
  16         A. No. No.
  17         Q. To the best of your memory had you
  18     ever experienced a hallucination or a
  19     delusion?
  20         A. No.
  21         Q. Other than the lithium and the
  22     Risperdal, which you started taking around
  23     2010 after hospitalization in Long Beach?
  24         A. Which I'm being weaned off of right
  25     now, by the way. As a matter of fact, I have

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     an appointment in two weeks.                 And he's got me
   3     down to only two milligrams.                 It's a very
   4     small amount.
   5          Q.     And other than the Cogentin, have you
   6     ever been prescribed any other medication for
   7     any psychiatric condition?
   8          A.     Ever?
   9          Q.     Ever.
  10          A.     Oh, I'm sure.         I'm sure I must have.
  11     I just don't remember what they are at this
  12     point in time.          Depakote.       Did I tell you
  13     Depakote?
  14          Q.     You did mention the Depakote.                   And
  15     remind me when you were prescribed the
  16     Depakote?
  17          A.     Pilgrim State.
  18          Q.     That was the first time you were
  19     prescribed Depakote?
  20          A.     No.    I think I had been prescribed it
  21     before.      I'm not sure.          Might have been.              I
  22     don't remember.          A lot of these medicines are
  23     so inconsequential to me that I just take them
  24     or I wean myself off of it as soon as I'm out
  25     of the hospital and don't take it because it

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      38
   1                                   Smith
   2     has an adverse effect on my physical being.
   3           Q.    Who is your primary psychiatric
   4     doctor now?
   5           A.    Dr. Bhatt, B-H-A-T-T.
   6           Q.    Where is Dr. Bhatt?
   7           A.    Long Beach Medical Center.
   8           Q.    Did Mr. Ferguson ask you similar
   9     kinds of questions about your history with
  10     bipolar disorder and medication?
  11           A.    Yes.     I believe he did.            Not the
  12     exact ones you asked, though.                 But some
  13     similar.      You know, we touched on the vein of
  14     it.
  15           Q.    Let's turn back to December of 1984.
  16     So I've shown you the missing poster and the
  17     December7, 1984 article reporting that Theresa
  18     Fusco's body had been found.
  19           A.    When did I make this statement?
  20           Q.    Let's take a look at your statement
  21     which is Exhibit 159.             And before -- well,
  22     what's the date on the top right of the first
  23     page?
  24           A.    December 9, 1984.
  25           Q.    Did you have an opportunity to read

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      39
   1                                   Smith
   2     through this document before we started the
   3     deposition today?
   4          A.     Yes, I did.
   5          Q.     Take a look at the bottom of the
   6     first page.        There's a signature there.                   Do
   7     you recognize that?
   8          A.     Yes.     That's my signature.
   9          Q.     Please turn to the bottom of the
  10     second page.         Do you recognize that signature
  11     on the right?
  12          A.     Yes.     That's my signature.
  13          Q.     And at the bottom of the last page,
  14     do you recognize the signature on the
  15     right-hand side?
  16          A.     Yes.     That's mine.
  17          Q.     Let's read through this together and
  18     I'm going to ask some questions about it.
  19                 Now, first of all, as you sit here
  20     right now, do you remember giving this
  21     statement on December 9th of 1984?
  22          A.     I don't remember.           I don't.        I mean,
  23     when I read it, everything in there is true
  24     about the things.           And now I do remember, kind
  25     of remember it.          But before I read it or Mary

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      40
   1                                   Smith
   2     told me it existed, I didn't remember it.
   3           Q.    Do you recall who you spoke to at the
   4     police department on December 9th of 1984?
   5           A.    Oh, no.      I don't remember at all.                   I
   6     just called the number on that poster was on
   7     the telephone pole in Lynbrook and I called
   8     it.
   9           Q.    When you say "that poster," are you
  10     referring to Exhibit 168, the Missing poster
  11     for Theresa Fusco?
  12           A.    Right.      I saw this and I thought
  13     about it and I said:             I did hear a scream that
  14     night.      What's the chance?            But let me just
  15     give a call and see.             So I gave the call.
  16           Q.    And that very same day they asked you
  17     to come in to the police department, didn't
  18     they?
  19           A.    I don't remember.
  20           Q.    Did there come a time when you went
  21     to the police department?
  22           A.    I don't remember doing that.
  23           Q.    Do you remember where you were when
  24     this statement was prepared for you to sign?
  25           A.    No.    Because I don't remember it.

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2         Q. Let's --
   3         A. But I know I did it because it's my
   4     signature and this is my truths.
   5         Q. Let's read through it point by point
   6     and I'll ask you some questions. Why don't
   7     you read it into the record starting at the
   8     first line?
   9         A. My name is Debra Smith. I am 28
  10     years old. I was born --
  11         Q. Then it is blacked out. But when
  12     were you born?
  13         A. June 3, 1956. I live at 1749
  14     Glenmore Avenue, East Meadow, New York.
  15         Q. Just for the record, the address on
  16     the copy that we all have has been blocked
  17     out. But that's the address you lived at in
  18     1984?
  19         A. Yes.
  20         Q. Okay.
  21         A. Because my children live there now.
  22         Q. Okay. Keep going.
  23         A. My home phone number is
  24     (516) 794-7127.
  25         Q. Just for the record, the phone number

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     is actually blacked out on the copy we have.
   3     But was that your home phone number in
   4     December of 1984?
   5         A. Yes. Yes.
   6         Q. Thank you. Please continue. Just
   7     line by line.
   8         A. "I work at American Technical
   9     Ceramics at 15 Stepar Place, Huntington
  10     Station, New York, phone 271-9600 extension
  11     220, as a computer programmer analyst."
  12         Q. Thank you. As of December 9th of
  13     1984, did you, in fact, work at American
  14     Technical Ceramics at that address with that
  15     phone?
  16         A. Yes.
  17         Q. Thanks. Please keep reading.
  18         A. "I live at home with my parents and
  19     brothers and sisters."
  20         Q. Was that true as of December 9th of
  21     1984?
  22         A. Yes. I see it only has "sister"
  23     there because only one sister lived at home.
  24     One had an apartment and the other one got
  25     married. That's why it says "sister."

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2          Q.     Please read the next sentence.
   3          A.     "I have been told by the detective
   4     who is writing this statement that any false
   5     statements I make herein are punishable as a
   6     class A misdemeanor pursuant to section 210.45
   7     of the penal law of the State of New York."
   8          Q.     As you sit here today, do you recall
   9     that the detective warned you that making a
  10     false statement to the police was punishable
  11     as a misdemeanor?
  12          A.     I don't remember.           But I wouldn't
  13     have anything to worry about because I was
  14     just telling them a truth that I had
  15     experienced.         And I said to him, "Look, it may
  16     not be anything."           As a matter of fact, it was
  17     a couple of weeks ago, I think it was.                        So I
  18     was telling him the truth.                I didn't know if
  19     it would be significant.
  20          Q.     Sure.     Okay.
  21                 Why don't you read the next line of
  22     the statement into the record starting with "I
  23     wish to state"?
  24          A.     "I wish to state last month, I
  25     believe between November 17th and the 21st, I

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     had gone to my friend James Pearson's house
   3     at" --
   4          Q.     Then it's blacked out.
   5          A.     Well, I better not give his address
   6     out.
   7          Q.     Why don't you read the end of that
   8     sentence?
   9          A.     -- "for the evening."
  10          Q.     Okay.
  11                 Where did James Pearson live back in
  12     December of '84?
  13          A.     He lived in East Rockaway.
  14          Q.     Did you know his address?
  15          A.     I don't think I should give his
  16     address because that would make him angry.
  17          Q.     Okay.     I wouldn't want to do that.
  18                 Who was James Pearson?
  19          A.     He was a guy I went out with nine
  20     years.
  21          Q.     So he was your boyfriend in December
  22     '84?
  23          A.     Right.      When I told him I was going
  24     to the police because I heard something, he
  25     goes, "Debbie, it could be anything.                      What are

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     you talking about?            Don't waste your time,
   3     their time.        Don't go.        You'll open up a can
   4     of worms.       And, remember, you have a
   5     psychiatric background.              Maybe they'll think
   6     it's something else.             Don't do it, Debbie."
   7     But I said, "Yes.           I think I did hear a
   8     scream."
   9                 And it's only -- suppose that girl,
  10     you know, needed help or something?                     So I went
  11     and did it anyway.            That's why I know he would
  12     get mad if I gave his address.
  13          Q.     Fair enough.         I won't ask, then.
  14                 Read the next sentence of the
  15     statement into the record.
  16          A.     "We had an argument and I left his
  17     house to go home.           I started driving on
  18     Atlantic Avenue to Central Avenue.                    As I got
  19     to that corner, I saw that the railroad gates
  20     were down for a train that was going towards
  21     Long Beach.        I decided to take Rockland Avenue
  22     street up to Merrick Road and Ocean Avenue
  23     where I go" --
  24          Q.     Turning to the next page.
  25          A.     -- "to go to Peninsula Boulevard and

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     home." Because I think I put that in there
   3     because that's not the way I normally go if I
   4     was late and the train was coming. So I went
   5     around it and went the back way to Rockland
   6     Avenue. That's why I'm saying I specified
   7     that in the report to the police.
   8         Q. Okay. Please read the next sentence?
   9         A. I drove north on Rockland Avenue to
  10     Sunrise Highway. The traffic light was red
  11     and I stopped for the light. I had my window
  12     partly open because I was smoking.
  13         Q. Why don't you stop there, please.
  14             Were you a smoker in December '84?
  15         A. Yes.
  16         Q. And did you from time to time smoke
  17     in the car?
  18         A. Yes.
  19         Q. When you smoked in the car, was it
  20     your habit to leave the window partly open?
  21         A. Yes. Because I don't want all the
  22     smoke in the car.
  23         Q. As you sit here now, do you recall
  24     having been at James Pearson's house and
  25     having had an argument with him and leaving?

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2          A.     That's not what I remember.                 What I
   3     remember was we went to a dance that night.
   4          Q.     With James?
   5          A.     Yeah.     And his mother.           Sometimes,
   6     you know -- so his mother, James and me all
   7     went to the dance.            And the reason why I'm
   8     pretty sure about that -- and I don't know
   9     why.    Well, maybe right before I left Jim's
  10     house, I had an argument about something.
  11     That's possible.           And I didn't think the dance
  12     was relevant to mention to them.
  13                 But I had high heels on.               And when I
  14     was going by the trestle, I was going to climb
  15     up it.      And I started to but then I was wobbly
  16     because of the heels.             And it was sinking in
  17     the mud, the dirt.            So I couldn't do that.
  18     That's why I didn't go up the trestle looking
  19     for what the noise was.
  20          Q.     We're going to get to the noise in
  21     just a minute.
  22                 Why don't you read the next line into
  23     the record, if you would?
  24          A.     "While I was sitting at the light, I
  25     heard a woman scream.             I rolled my window down

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      48
   1                                   Smith
   2     and listened, but did not hear anything else.
   3     The scream came from the left and like it was
   4     up high.      I looked at the railroad elevated
   5     because that seemed to be the direction that
   6     the scream came from."
   7          Q.     Thank you.
   8                 As you sit here today, do you recall
   9     being in that location and hearing a girl
  10     scream?
  11          A.     I remember that.
  12          Q.     Tell me what you remember of it.
  13          A.     I remember getting up to the light.
  14     I had the window open and I was smoking and I
  15     heard a scream.          It sounded like a female
  16     voice.      When I remembered it years later, I
  17     remembered also I thought I heard other
  18     noises, other sounds like more than one voice,
  19     years later.         But this would be the most
  20     accurate because this was right about two,
  21     three weeks after it happened.
  22          Q.     When you say you later remembered
  23     having heard other voices and other sounds --
  24          A.     When I was asked about the story
  25     without having read this, I said that I heard

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     a scream, a female voice. And then I thought
   3     I heard, like, when I was talking to Mr.
   4     Ferguson, I told him I thought I heard more
   5     than one voice, other voices.
   6         Q. The other voices you heard --
   7         A. Maybe I was also very -- I only wrote
   8     down what was definitive, like I heard a
   9     definitive scream. That, I heard. I did not
  10     maybe write the other voices down because I
  11     thought that I should just write what I heard
  12     clearly, not what was muffled or mumbled, for
  13     the police because it was a statement. I had
  14     to make sure it was exactly what I did hear
  15     clearly.
  16         Q. Can you describe this scream for us?
  17     What did it sound like?
  18         A. Like a woman in trouble. That she
  19     did not want to -- that something was
  20     happening that she did not want. Definitely
  21     like she didn't want to be there or it was
  22     definitely sounding like a woman in trouble.
  23     That's why when the light turned from red to
  24     green, I pulled across the highway, parked my
  25     car on the side of the road and got out to

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      50
   1                                   Smith
   2     explore.      I wanted to see what was causing
   3     some girl to scream.
   4          Q.     What if anything did you find or hear
   5     when you got out of the car?
   6          A.     When I got out of the car, by the
   7     time I crossed the highway and got out of the
   8     car there was silence.              I heard nothing.              I
   9     heard nothing.          But I was going to explore.                      I
  10     thought maybe she made so much noise that they
  11     had their hands over her mouth so she couldn't
  12     scream anymore.          So I thought I would go up
  13     the trestle where I thought I heard the sound
  14     coming from, in that vicinity, back, back that
  15     way and see if there was anything up there.
  16     But I was a little bit nervous because I had
  17     those high heels on from the dance and I
  18     couldn't move easily.
  19          Q.     Were you at all afraid having heard a
  20     girl scream?
  21          A.     Yes.     I was afraid, too.            Well, I was
  22     mostly afraid when I saw how vulnerable I was
  23     with high heels on, the pumps and everything
  24     digging into the dirt, putting me off balance.
  25     I didn't have my sneakers on.                 I always wear

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      51
   1                                   Smith
   2     sneakers and I didn't have my sneakers on.
   3     So, yeah, I was afraid.              That's what
   4     ultimately stopped me.              I said wait a minute,
   5     now.    I'm trying to go up this trestle, I'm
   6     unbalanced, you know, my high heels.                      And what
   7     can I do anyway?           I'm going to go up there and
   8     I'm going to surprise them and they're going
   9     to get me.       I said I don't know.
  10          Q.     Now, you had mentioned a moment ago
  11     you thought later you might have heard other
  12     voices?
  13          A.     Yes.     But I didn't -- I don't think I
  14     put that in there because that wasn't
  15     definitive.        It was like very low talking.
  16     Like, very, very low where I could hardly
  17     catch it across the highway.
  18          Q.     Those other voices you think you may
  19     have heard, were they female or male voices?
  20          A.     I thought they were male.
  21          Q.     Please take a look at a map that has
  22     been previously marked as Exhibit 170 and I
  23     would like to just make sure we're very clear
  24     on where you were.            If you look at the
  25     lower --

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      52
   1                                   Smith
   2          A.     North is to the top, south is to the
   3     bottom?      There's no compass on here.
   4          Q.     There is no compass.             But if you look
   5     down, you see the number 2 that is highlighted
   6     in yellow there?
   7          A.     Yeah.
   8          Q.     Do you see the hatching of the
   9     railroad line there?
  10          A.     Yes.
  11          Q.     And do you see at the intersection to
  12     the right of the two, it says "Rockland
  13     Avenue" coming up above the railroad trestle?
  14          A.     Yes.
  15          Q.     Do you see Sunrise Highway going just
  16     below and parallel with the trestle?
  17          A.     Sunrise Highway.           Yes.     I see that.
  18          Q.     So you testified and you wrote in
  19     your statement that you were driving up
  20     Rockland to the light at Sunrise?
  21          A.     I was approximately probably where
  22     the number 4 is, at the light when I heard the
  23     scream.      Then when I went across Sunrise
  24     Highway -- and where it would be if you moved
  25     that 4, straight up -- I would be up the

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      53
   1                                   Smith
   2     trestle there, opposite the 2.
   3          Q.     You know what I would ask you to do
   4     is take my pen and make a number 6 with a
   5     circle around it where you parked your car
   6     after you drove under the overpass on
   7     Rockland.
   8          A.     You know, at this time I'm not sure
   9     if I parked -- I think I parked over here.
  10          Q.     Before you make any marking, do you
  11     want to refer back to your statement again?
  12          A.     No, no, no.        I know I pulled the car
  13     across the highway.            What I don't remember is
  14     did I pull it across and park, like, legally
  15     on the right side of the road.                  There's no
  16     legal parking there, though, at that hour.                             So
  17     I don't remember how I got around there.                          I
  18     didn't want to get a ticket or get in trouble
  19     for parking illegally at that hour of the
  20     night.      So I thought -- what I did was just
  21     pull to the right even though that wasn't
  22     legal parking.
  23          Q.     On the other side of the railroad
  24     tracks where you first heard this scream.
  25          A.     Right.      Somewhere between the 1 and

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      54
   1                                   Smith
   2     4.   It would be the 6.             It would be right
   3     about here.         Does that 1 represent where the
   4     car was found?
   5          Q.      The 1 is not -- the 1 is something
   6     else.       It's not the --
   7          A.      Oh, because I was going to say that I
   8     think I was parked not too far away from the
   9     car.
  10          Q.      I'm going to ask you questions about
  11     the car.       But for now, just enter the 6 where
  12     you parked your car.
  13                  (Witness complies.)
  14                  So the 4 is where you heard the
  15     scream.       But it's not where you saw a car; is
  16     that fair to say?
  17          A.      Yes.    I didn't see the car until
  18     after I parked my car.              I got out and walked
  19     towards the trestle under that underpass, over
  20     that way, looking to see if there was a girl
  21     screaming.       Listening.
  22          Q.      Why don't we do this?            See the
  23     writing on the right side next to number 4, it
  24     says "Debbie Smith's location where she
  25     reported seeing the car and hearing a scream,"

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      55

   1                         Smith
   2     that's no longer accurate? You're telling us
   3     number 4 is only where you heard the scream,
   4     right?
   5         A. Right. Where did you get that "she
   6     reported seeing the car" from?
   7         Q. Looks like it's wrong.
   8         A. It is wrong.
   9         Q. So cross out the part that's wrong.
  10     Cross out where "she reported seeing the car"
  11     so that our map is accurately reflecting what
  12     you saw and what you remember.
  13         A. I didn't see the car until -- I saw
  14     nothing. But I was listening. That's all I
  15     was doing at that location number 4, and
  16     hearing the screaming. That's all. I heard
  17     the scream there.
  18         Q. Then you entered a 6 on the other
  19     side?
  20         A. Maybe it should be further down. If
  21     that's Hot Skates, the 6 should be further
  22     down this way.
  23         Q. Do you want to put an arrow where it
  24     should be, where you parked the car?
  25             (Witness complies.)

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      56
   1                                   Smith
   2                  Okay.    Why don't you write on the
   3     right side, "6, Debbie Smith parked car"?
   4                  (Witness complies.)
   5                  MS. CORNWALL:        And we'll mark this as
   6     170-A.       And I'll get copies out.
   7                  (Exhibit 170-A, a map showing
   8     markings witness made, was so marked for
   9     identification.)
  10                  MS. CORNWALL:        Thank you very much.
  11          Q.      Why don't you continue reading from
  12     your statement and we'll come back to the map?
  13                  "The traffic light changed."
  14          A.      Where were we?
  15                  Oh, "and I stopped for the light.                      I
  16     had my window partly opened because I was
  17     smoking.       While I was sitting at the light, I
  18     heard a woman scream.             I rolled my window
  19     down, listened, but did not hear anything
  20     else.       The scream came from the left and like
  21     it was up high.          I looked at the railroad
  22     elevated because that seemed to be the
  23     direction that the scream came from.                      The
  24     traffic light changed and I drove across
  25     Sunrise Highway and under the railroad

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      57
   1                                   Smith
   2     overpass.       I saw a large, light- to medium-tan
   3     car, four-door sedan, early '70s.                    It had huge
   4     windows.       I looked inside and saw a lot of
   5     stuff in the back seat.              I think there were
   6     tools, a blanket and other stuff in the back
   7     seat.       During this time, I got out of my car
   8     and I looked around toward the railroad
   9     trestle."
  10          Q.      Why don't I stop you there?
  11                  Would you turn back to our map and
  12     indicate on the map where you saw this car?
  13     Did you see the car in approximately location
  14     number 6 where you parked?
  15          A.      Yeah.    Location 6.
  16          Q.      Okay.    Why don't you write that,
  17     also, on the right side where you just wrote
  18     "Debbie Smith parked car," why don't you add
  19     in "and saw car"?
  20                  (Witness complies.)
  21          A.      How about I write "and location where
  22     she reported seeing the car"?
  23          Q.      If that's accurate, go ahead.
  24                  (Witness complies.)
  25                  Great.     Thank you.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      58

   1                         Smith
   2             Now, I have one more map to make sure
   3     we're seeing this clearly. I gave counsel a
   4     copy. It's Exhibit 264 and this one is from
   5     Google Earth.
   6             So it shows, from the sky, a
   7     photograph of the same general location. Do
   8     you see Rockland Avenue coming from the left?
   9         A. Yes.
  10         Q. Do you see the railroad tracks in the
  11     middle going from left to right, crossing
  12     Rockland, this gray band?
  13         A. Oh, that's the railroad. Okay. I
  14     see that.
  15             MR. FREEMAN: Objection to the form
  16     of the question.
  17         Q. And then do you see Sunrise Highway
  18     as it was on the other map?
  19         A. Yes.
  20         Q. The wide street below the railroad?
  21     And you're generally familiar with this area,
  22     aren't you?
  23         A. I drove a taxi in this neighborhood.
  24     Yes, I did.
  25         Q. Taking a look at 264, the Google

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      59
   1                                   Smith
   2     Earth image, do you recognize the neighborhood
   3     depicted --
   4          A.     Yes.
   5          Q.     -- as part of Lynbrook?
   6          A.     Yes.
   7          Q.     Do you now recognize the gray line
   8     just above Sunrise Highway going from the left
   9     side of the page to the right as the railroad
  10     track?
  11          A.     Yes.
  12          Q.     Now, does this image give you anymore
  13     space or change at all -- withdrawn.
  14                 Does this image help you at all in
  15     determining where you parked your car and
  16     where you saw the other car after you drove
  17     through the railroad overpass?
  18          A.     No.    It's the same whether I use the
  19     little map or this map.              Except there's more
  20     room to write it on the big one.
  21          Q.     Thank you.
  22                 I would now like to show you
  23     something else.          Well, I'm sorry.            Withdrawn.
  24                 Let's go back and keep reading
  25     through your statement.              Three lines from the

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      60

   1                                    Smith
   2     bottom, I think.
   3             "I looked"?
   4          A. "I looked inside and saw a lot of
   5     stuff in the back seat."
   6             That?
   7          Q. Go ahead.
   8          A. "I think there were tools, a blanket
   9     and other stuff in the back seat."
  10          Q. As you sit here today, do you
  11     remember seeing that car by the side of the
  12     road?
  13          A. Yes.
  14          Q. As you sit here today, do you recall
  15     seeing those items inside the car?
  16          A. Yes. I remember -- I thought I saw
  17     rope. I didn't put that down, though.
  18          Q. Where was the rope?
  19          A. Mixed in with all the other stuff.
  20          Q. Do you recall what color the rope
  21     was?
  22          A. Beige, tan. The usual color.
  23          Q. Do you have a specific memory or are
  24     you guessing about the color?
  25          A. No. Specific memory, it was beige.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      61
   1                                   Smith
   2          Q.     By the way, the writing of this
   3     statement, other than your signature, is that
   4     your handwriting?
   5          A.     No.    It's not mine.          It's his.
   6     That's why I'm having trouble reading it.
   7          Q.     So a detective wrote this out for you
   8     to sign?
   9          A.     Right.
  10          Q.     Did you read it before you signed it?
  11          A.     I don't remember this statement.
  12     So -- I'm sure I did because I don't sign
  13     anything until I read it.
  14          Q.     And we've read about two pages of it
  15     so far.      Is there anything here that, as you
  16     read it now, feels inaccurate?
  17          A.     The only part I was surprised, it
  18     didn't mention, was I was surprised it didn't
  19     mention the dance.            Because I had high heels
  20     on, because I remember it clearly to this day.
  21     I'm surprised it didn't mention that.                       I must
  22     have, after the dance, got into an argument
  23     with Jimmy.        That's why I put the argument in.
  24     I remember we didn't argue that much.                       So I
  25     was kind of surprised about that.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      62
   1                                   Smith
   2          Q.     Other than information that might
   3     have been left out of the statement so far, is
   4     there anything that's here that's inaccurate?
   5          A.     I don't remember the car as being a
   6     four-door sedan.           I don't remember that.
   7          Q.     Let's keep reading through your
   8     statement and then I'm going to show you a
   9     couple of other things.
  10                 You're at the third line from the
  11     bottom of the second page, I think.                     "I looked
  12     at the license plate."              Right-hand side toward
  13     the bottom.
  14          A.     "I looked at the license plate.                     I
  15     remember there were four numbers and three
  16     letters and the shiny" -- what is that?                         I
  17     can't read that.           "Shiny sticker on the left
  18     side of the rear bumper.               I also remember that
  19     the car had a broken windshield and a ticket
  20     in the left front window on the dashboard."
  21          Q.     As you sit here today, do you have a
  22     specific memory of the license plate, the
  23     shiny sticker and the broken windshield or any
  24     of those things?
  25          A.     No.    I have no recall whatsoever of

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      63
   1                                   Smith
   2     the broken windshield, the sticker.                     I have no
   3     recall.
   4          Q.     Okay.     Please continue reading your
   5     statement.
   6          A.     "Today I received a phone call from
   7     Detective Joseph Volpe to ask me to come to
   8     police headquarters and view a car they have
   9     there.      I met with Police Officers Lane and
  10     Detective Pierce who showed me a 1971
  11     Oldsmobile Delta 88.             And I had looked at the
  12     car.    I feel that this is the car I saw that
  13     night."
  14                 The only reservation I have is that
  15     the interior of the car does not have all the
  16     stuff in it that the car had when I was
  17     stopped by the railroad crossing.                    I had given
  18     this statement to the detectives, and it is
  19     the truth.
  20          Q.     Thank you.
  21          A.     I remember looking at the car.
  22          Q.     When you say you remember looking at
  23     the car, were you at the police department
  24     when you looked at a car?
  25          A.     I believe.        If I recall correctly, I

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      64
   1                                   Smith
   2     was by Franklin Avenue, the police impound
   3     area.       There were a lot of other cars and
   4     things around.
   5           Q.     Showing you what's previously been
   6     marked as Exhibit 169.              I'm showing you the
   7     first page of that exhibit.
   8                  Do you recognize that as the 1971
   9     Oldsmobile Delta 88 that police showed you
  10     when you went to the impound?
  11           A.     I have no memory of it.              I just know
  12     that there was a car there that night that I
  13     thought had suspicious things in it.                      It
  14     didn't fit there.           It wasn't supposed to
  15     legally be there, according to Lynbrook law.
  16     And, you know, I mentioned that to them.
  17           Q.     And --
  18           A.     I don't remember --
  19           Q.     --   Ms. Smith, when you signed this
  20     statement saying that police showed you a 1971
  21     Oldsmobile Delta, and you felt that car they
  22     showed you was the same car you had seen, was
  23     that a truthful statement?
  24           A.     It must have been, because I signed
  25     it.    I would have protested it.                 And I said --

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      65
   1                                   Smith
   2     then I made a point that the only reservation
   3     I had was the car didn't have all the stuff in
   4     it.
   5           Q.    So when you looked at the car in the
   6     impound, did you in fact recognize it as the
   7     car you had seen that night you were referring
   8     to when you heard the scream?                 Was that the
   9     car that you had seen?
  10           A.    I signed it here.           So I would have to
  11     say yes.
  12           Q.    Showing you what was marked as
  13     Exhibit 160, take a look at that.                    This is a
  14     document provided to us by the Nassau County
  15     Police suggesting that two days after -- let
  16     me just finish the question and then I'll ask
  17     you.
  18                 This is a document, Exhibit 160,
  19     which Nassau County Police gave us suggesting
  20     that two days after you signed the statement
  21     identifying a car and describing the scream
  22     that you had heard, you called back at the
  23     police and said you had a question about the
  24     date when you had heard the scream.                     Do you
  25     recall calling the police back?

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      66
   1                                   Smith
   2          A.     Yes.
   3          Q.     What prompted you to do that?
   4          A.     Because I was thinking about the time
   5     period.      I realized I had it wrong, that it
   6     wasn't the 17th to 21st time period, that it
   7     was actually the week before.
   8          Q.     And what was it that made you realize
   9     it was the week before?
  10          A.     I think I -- because I went to the
  11     dance.      And all I did was ask his sister where
  12     the dance was.          So whenever that dance was,
  13     was the night it happened.
  14          Q.     Do you recall where the dance was
  15     held?
  16          A.     Brooklyn.
  17          Q.     So is it fair to say that when you
  18     called back the police on December 11th of
  19     1984, you were very confident that you had
  20     heard the scream and seen that car the weekend
  21     of November 10, not the weekend of November
  22     17th?
  23          A.     Well, that I had -- actually, the
  24     whole thing that transpired.                 Heard the
  25     scream, heard -- I thought it was a Saturday

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      67
   1                                   Smith
   2     night, around the 10th, looking at this time
   3     frame here, as opposed to the week later.
   4          Q.     And could it also have been a Friday
   5     night, given that November 10th of 1984 was --
   6          A.     It had to be either a Friday or
   7     Saturday because the dance was held on either
   8     Fridays or Saturdays.
   9          Q.     After you made this phone call, did
  10     anyone from the Nassau County Police
  11     Department come back to you and ask you to
  12     sign an amended statement?
  13          A.     I don't remember.
  14          Q.     To your knowledge and the best of
  15     your memory, after you made this phone call
  16     did any Nassau County Police Officer ever
  17     contact you again?
  18          A.     Well, I don't remember the time I
  19     signed this statement.              And then --
  20          Q.     Referring to Exhibit 159, your
  21     December 9, 1984 statement.
  22          A.     Right.
  23                 And then I do remember going and
  24     looking at the car.
  25          Q.     Later the same day?

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      68
   1                                   Smith
   2          A.     I don't know if that was the same
   3     day.    Maybe it was.
   4          Q.     Well, let's take a look at your
   5     statement of December 9th.
   6                 On the third page, the statement you
   7     signed says, "Today I received a phone call
   8     from detective Joseph Volpe who asked me to
   9     come to police headquarters and view a car."
  10     It's on the third page there.
  11                 "I met with Police Officer Lane and
  12     Pierce who showed me a 1971 Oldsmobile Delta."
  13                 So if you signed this statement --
  14          A.     That would be accurate, then.
  15          Q.     So you signed a statement the same
  16     day that you saw and recognized the vehicle in
  17     police impound as the same car you had seen
  18     sometime earlier.
  19                 Other than that -- and your phone
  20     call to police two days later -- do you recall
  21     any other contact with Nassau County Police in
  22     1984, 1985 or 1986?
  23          A.     No.    I don't think so.            I mean, I was
  24     very busy.        I didn't want to be bothered.                     I'm
  25     telling you the best I can.                Maybe I didn't

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      69
   1                                   Smith
   2     hear it.      Maybe it was a truck driving by.
   3     Maybe it was a cat squealing in the woods over
   4     there or up by the train track.                   I didn't
   5     really want to be bothered.
   6          Q.     As you sit here today, do you really
   7     believe that you called the police about a cat
   8     screaming?
   9          A.     No.    No.     I thought it was a woman
  10     screaming.
  11          Q.     And that's why you called the police.
  12          A.     Yeah.     That's why I did call them,
  13     you know.       But I didn't want to be bothered.
  14     I didn't want to get involved.                  I didn't want
  15     to get in between something.                 Also, because my
  16     psychiatric background, that might raise
  17     questions to them.            So I was hesitant about
  18     that too.       I just did it because, you know
  19     what, in all fair consciousness, let me give
  20     them a call and whatever.
  21          Q.     So no Nassau County District Attorney
  22     ever asked you to talk to him about what you
  23     saw or heard that night?
  24          A.     I don't remember.
  25          Q.     You were never asked to go to court

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     about this, were you?
   3          A.     Oh, thank God no.           Could you imagine
   4     me saying all this in open court?                    I don't
   5     think I would like that too much.
   6                 I didn't ever call them back, I don't
   7     think.      See, it says, "She will attempt to put
   8     her date and activities in order and will call
   9     us back."
  10          Q.     You're referring to Exhibit 160.
  11                 To the best of your memory, you did
  12     not call them back?
  13          A.     No.    I just called -- because I was
  14     hesitant.       Now I've got the dates wrong.                     Now
  15     I'm not sure.         You know, I got my mental
  16     health history.          I mean, you know.
  17          Q.     Sorry to interrupt you.
  18          A.     No.
  19          Q.     Did you tell either Detective Volpe
  20     or Detectives Pierce and Lane, who showed you
  21     the car and took the statement, or the
  22     detective that you spoke to two days later
  23     over the phone, that you had had a psychiatric
  24     history?
  25          A.     No.

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       DEBRA SMITH                                                 March 22, 2011
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   1                          Smith
   2         Q. Did they ask you any questions about
   3     psychiatric history?
   4         A. No. They wouldn't know that. My
   5     boyfriend said to me, "Don't even do it.
   6     Don't call them. Don't bother with it. It's
   7     over and done. Nothing you can do about it."
   8     I said, "Suppose they can't find her?"
   9     And he said, "Don't bother with it. You've
  10     got a psychiatric history. You know how that
  11     looks."
  12             MS. CORNWALL: I have no further
  13     questions at this point. I might after the
  14     other side questions you. Would you like to
  15     take a minute and stretch your legs?
  16             THE WITNESS: No. I'm good.
  17     EXAMINATION BY
  18     MR. FREEMAN:
  19         Q. My name is Mr. Freeman and I'm going
  20     to be asking you questions.
  21         A. Okay.
  22         Q. Are you sure you don't want a break
  23     before we start?
  24         A. Positive.
  25         Q. Good.

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2                 Same rules apply.           If you don't
   3     understand the question, you can ask me to
   4     repeat it and I'll repeat it hopefully in a
   5     way you can understand.              If you want to take a
   6     break, even though you don't want one now, you
   7     may want to take a break later, feel free, let
   8     us know.      I'm sure we could get some water.
   9     Would you like water?
  10          A.     Only water they have is a water
  11     fountain.
  12          Q.     There's a cooler right there?
  13                 MR. FERGUSON:         I can get some
  14     downstairs if you want it.
  15                 THE WITNESS:         It's okay.
  16          Q.     Anyway let me know.            Okay?
  17          A.     All right.
  18          Q.     In no special order, I'm going to go
  19     through the questions that you were asked by
  20     Ms. Cornwall and some questions that we have.
  21                 You were asked a number of questions
  22     about your statement that you signed.                       Do you
  23     recall that?
  24          A.     Yes.
  25          Q.     You said that you read the statement

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      73
   1                                   Smith
   2     before you signed it because that's what you
   3     usually do.        Is that right?
   4           A.    Yes.     I don't specifically remember
   5     sitting there and signing this document.                          I
   6     said that is my signature and I did sign it.
   7     But I do not sign anything unless I read it.
   8           Q.    I'm going to ask you to look at the
   9     statement again.           Why don't you look at your
  10     copy which is 159.            Do you see it?
  11           A.    Yes.
  12           Q.    Do you see that this statement has a
  13     couple of spots where your initials appear?
  14           A.    Yes.     That's probably because I
  15     erased something, changed something and I
  16     initialed it to show that I had done that.
  17           Q.    And to your mind, does that make you
  18     recall that you did read it before you signed
  19     it?
  20           A.    I must have.
  21           Q.    Let's turn to the third page, please.
  22     In the middle, there's a sentence which reads,
  23     "I met with Police Officer Lane and Detective
  24     Pierce who showed me a 1971 Oldsmobile Delta
  25     88 and I have looked at the car."

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      74
   1                                   Smith
   2                 Do you see that?
   3          A.     Yes.
   4          Q.     I'm going to be asking you questions
   5     about the next sentence.               "I feel that this is
   6     the car I saw that night."
   7                 Now, you seem to be a pretty careful
   8     person.      When you wrote "I feel that this is
   9     the car" --
  10                 MS. CORNWALL:         Objection.
  11                 Sorry.      I'll wait until you're
  12     finished.
  13          Q.     "I feel this is the car I saw that
  14     night."      Did you indicate or did you mean to
  15     indicate that you weren't certain that you
  16     felt it was the car?
  17                 MS. CORNWALL:         Objection.         Ms. Smith
  18     did not write.          She testified earlier that the
  19     detectives wrote.
  20          A.     The detectives did write that.
  21          Q.     Okay.     Do you recall using the words
  22     "I feel"?
  23                 My mistake.        I said that the wrong
  24     way.
  25          A.     I know what you're saying.

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      75
   1                                   Smith
   2                 MS. CORNWALL:         Well, objection.              The
   3     witness has --
   4           A.    I thought it was the car upon viewing
   5     it.    But I wrote -- I told him the only
   6     reservation I have is that that night it
   7     looked so grungy, and all the stuff in the
   8     back of the car, and it looked like a
   9     workman's car.          It looked like a worker's car.
  10           Q.    In fact, it looked like a handyman's
  11     car, isn't that right?
  12           A.    Right.      A handyman's car.            That's
  13     what I meant.
  14           Q.    Did you express reservations to the
  15     police officer or the detective that took your
  16     statement that this might not be the car?
  17           A.    I don't remember.           It's a
  18     possibility.
  19                 When I thought back --
  20           Q.    Are you finished --
  21           A.    When I thought back on it, like, now,
  22     27 years later, I thought the car was lighter
  23     than that car.          I thought it was a lighter
  24     car.    When I look at that car, I don't
  25     remember that car, picture of this specific

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     car. If that's the car, if that's the Delta.
   3         Q. But you indicated earlier today in
   4     your testimony that the statement that you
   5     gave in 1984 -- December 9, 1984 to be
   6     exact -- in your opinion, is accurate and
   7     truthful. Do you remember saying that?
   8         A. Right. Because I knew how serious
   9     this was. So I wouldn't -- I wouldn't have
  10     stretched it. I would have shown -- any
  11     reservation I had, I described that
  12     reservation. Because this car, the car I'm
  13     looking at, looked pretty nice, cleaned up.
  14     The car I saw that night looked like junk all
  15     stuck in there, rope, tools. Just a whole
  16     bunch of junk in there. And it was very
  17     sloppy.
  18             But, yes. I gave the statement. I
  19     knew there was also a misdemeanor to lie on
  20     the report. So I would have been -- tried to
  21     be very accurate.
  22         Q. So if I understand you correctly --
  23     let me know if this is a fair statement, the
  24     statement I'm going to make -- because you
  25     were trying to be accurate, you indicated to

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     the person that took this statement that you
   3     had some reservation whether or not the car
   4     that they showed you was the car you saw the
   5     night you heard the scream?
   6             MS. CORNWALL: Objection.
   7         Q. Correct?
   8         A. But he's specifying that's what the
   9     reservation was all about. Because it was
  10     cleaned up and now it looked -- didn't look
  11     all junked up. I thought to myself if they
  12     have it in the police pound, why isn't it all
  13     junked up the way I saw it that night?
  14         Q. So I'm going to ask my question
  15     again.
  16             Is it a fair statement for me to say
  17     that you expressed your reservation about the
  18     car and whether it was the same car you saw
  19     the night of the scream because you wanted to
  20     be accurate? Is that a fair statement that
  21     I'm making?
  22         A. Yes. Yes. I wanted to make sure --
  23     I'm not a car person. You know, I don't know
  24     cars too well. I wanted to make sure that I
  25     did not identify the wrong car or tell them

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     what my reservation is.              Yeah, this car looks
   3     neat, clean.         My car was dirty, filthy and
   4     grungy.      It looked different.
   5          Q.     You testified here today, as I
   6     indicated earlier, that the statement that you
   7     gave in 1984 in December, you intended it to
   8     be accurate.         But you said also that you have
   9     some recollection still today about the
  10     incident; do you recall that testimony?
  11          A.     Yeah.
  12          Q.     For example, you said, "I remember
  13     the rope."       Do you remember saying that here
  14     today?
  15          A.     Yeah.
  16          Q.     Do you recall that -- do you recall,
  17     as you sit here today, that the car that you
  18     saw the night of the scream was a station
  19     wagon?
  20          A.     Knowing what I thought about it 27
  21     years later, I thought it was a station wagon.
  22     But I wouldn't have signed about a Delta 88 if
  23     that wasn't true.           You know what I mean?                 I
  24     mean, that's how I'm looking at it.                     In
  25     hindsight, I thought it was a beige-ish,

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      79
   1                                   Smith
   2     tannish station wagon.              Because most repairmen
   3     have station wagons, things in it.                    I thought
   4     that was my impression of it.                 But here,
   5     according to the statement I signed, the Delta
   6     88.    I know what that Delta 88 looks like
   7     because Jimmy's mother had a Delta 88.
   8           Q.     Jimmy meaning James Pearson, your
   9     boyfriend at that time?
  10           A.     Yes.    His mother had an old model
  11     Delta 88.
  12           Q.     Didn't you growing up have a station
  13     wagon in your family?
  14           A.     Yes.
  15           Q.     And was that a car that was familiar
  16     to you?
  17           A.     Yes.    The Vista Cruiser, Oldsmobile.
  18           Q.     The station wagon that you had when
  19     you were growing up, when you were younger,
  20     did it have a door that opened up in the back
  21     the way most station wagons do, like a tail
  22     that goes down, tailgate?
  23           A.     I don't think the Vista Cruiser went
  24     down.       I think it opened up this way
  25     (indicating).

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2          Q.     So as you look back, as you put it,
   3     27 years later, you think -- when you think
   4     about the incident today, you think it
   5     might -- that the car you saw that night, the
   6     night of the scream, might have been a station
   7     wagon, however, you want to -- you believe
   8     that the statement you gave --
   9          A.     Was accurate.
  10          Q.     --   was accurate at the time you gave
  11     it; correct?
  12          A.     Yes.     But 27 years, to remember
  13     something like the make of a car, I mean, to
  14     even remember all the incident and everything,
  15     when so many things happen in the course of a
  16     month, let alone...
  17          Q.     When you looked -- withdrawn.
  18                 Do you recall whether you gave the
  19     statement -- the one that you gave on December
  20     9, 1984 -- do you recall whether you gave it
  21     after you looked at the car that the police
  22     were going to show you?
  23          A.     After the car.
  24          Q.     And do you believe that the viewing
  25     of the car may have affected your memory and

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     you put in the make and model of the car
   3     because you had just seen a car in police
   4     custody?
   5         A. I didn't give the make and model of
   6     the car. The car they showed me, asked me my
   7     opinion of, I thought it was the car. They
   8     then put in the make and model and everything
   9     of the car. I didn't know.
  10         Q. I see.
  11         A. I didn't give them a make and model
  12     of a car. I said "a car." I just -- a
  13     woman's explanation of a car, you know.
  14         Q. Okay. Now, you testified that, the
  15     night of the scream, that you heard what you
  16     believed to be a scream; correct?
  17         A. Yes.
  18         Q. And there were some questions asked
  19     about your ability to describe that scream;
  20     correct?
  21         A. It wasn't blood curdling. But it
  22     was -- definitely sounded like a scream that
  23     got muffled with a hand.
  24         Q. In other words, it is your
  25     interpretation of the events that there might

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     have been a hand over the person's mouth.
   3          A.     After they started the scream.
   4          Q.     I see.
   5                 Do you know if -- what words were
   6     used?
   7                 Let me rephrase that.             That's a bad
   8     question.
   9                 Do you recall if the person said
  10     "help" or was it just a scream, like -- I'm
  11     going to scream.
  12                 (Mr. Freeman is screaming.)
  13          A.     It was --
  14                 (The witness is screaming.)
  15          Q.     Is that your best recollection of how
  16     it sounded to you?
  17          A.     Yeah.     Like that.
  18          Q.     Are you demonstrating for the record
  19     what the scream sounded like?
  20          A.     Yes.
  21          Q.     You also said that you heard what
  22     could have been muffled voices?
  23          A.     This was my recall years later --
  24     years later.         I remember hearing almost, like,
  25     the person was chastising, like a person would

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      83
   1                                   Smith
   2     be chastising the one who screamed.                     All of a
   3     sudden, you don't hear anymore screaming.                           But
   4     you hear some other sounds.                But because it
   5     was not clear, I did not put it in the report.
   6     Because that was something that was too
   7     muffled.      Maybe it was my interpretation.                       I
   8     don't know.        I didn't want to take any chance.
   9     So I put what I clearly heard, what I clearly
  10     saw, what I clearly knew.               Because it's a
  11     misdemeanor thing.
  12          Q.     So my question is, as you sit here
  13     today, is this a recollection that you had at
  14     the time of the event -- withdrawn.
  15                 It's an experience that you had at
  16     the time of the event, in other words, hearing
  17     muffled voices at that time, but you didn't
  18     tell the detective because you weren't
  19     certain; is that right?
  20          A.     Yes.
  21          Q.     This is not something that you
  22     thought of --
  23          A.     Because, don't forget now, I'm across
  24     a highway.
  25          Q.     --   years later?

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2         A. There wasn't that much traffic at
   3     that hour of the night. I'm across the
   4     highway and your mind could play tricks on
   5     you. You're not a hundred percent sure. You
   6     think you hear. That's why I pulled over. I
   7     thought I may have heard. Let me go and see
   8     if maybe I can help this lovers quarrel out,
   9     or whatever. You know. But I can't say I
  10     clearly heard it and that's clearly what I
  11     knew.
  12         Q. Okay. You drove a taxi in Lynbrook;
  13     correct?
  14         A. Yes.
  15         Q. On and off for sometime around?
  16         A. Yes. From '78, around.
  17         Q. Until '89?
  18         A. No. Until about '82, '83. Maybe
  19     '84. I may have only driven one night a week
  20     around, like, in the '80s, one night a week.
  21     Like a Saturday or Friday night.
  22         Q. But you're familiar with the area
  23     around Rockland and Sunrise Highway?
  24         A. Yes. Very familiar with that.
  25         Q. And you're also familiar with train

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       DEBRA SMITH                                                 March 22, 2011
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   1                          Smith
   2     tracks and the trestles; correct?
   3         A. Well, I never went up to the train
   4     tracks or trestle there.
   5         Q. I mean their location and their
   6     existence.
   7         A. Yeah.
   8         Q. You testified today that you didn't
   9     want to wait for a train to go pass. Do you
  10     recall testifying --
  11         A. Yes.
  12         Q. -- that the bars were down?
  13         A. Right. That was in my letter -- my
  14     statement.
  15         Q. And I'm asking you if you recall --
  16     having been a taxi driver, having dated James
  17     Pearson for some time -- in your experience,
  18     how long does it take for a train to go by?
  19         A. Not that long. Trains go by pretty
  20     quickly.
  21         Q. The train tracks that you're talking
  22     about are Long Island Rail Road train tracks,
  23     right?
  24         A. Yeah.
  25         Q. It's not a freight train.

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2         A. No, it's Long Island Rail Road.
   3         Q. And it's Saturday night or Friday
   4     night. Would it be a long train, in your
   5     experience?
   6         A. No. But you know what? I like to
   7     try and get home without stopping at lights,
   8     stop signs. I go the way with the least
   9     amount of lights, least amount of stop signs.
  10     I usually don't go that way home that I went
  11     down Rockland Avenue. But the train was
  12     coming, I wanted to avoid it. So I scooted
  13     down Rockland, avoided it.
  14         Q. Do you recall if the train --
  15         A. You know, we're not talking about
  16     Sunrise Highway.
  17         Q. Do you recall if the train was going
  18     east or west?
  19             MS. CORNWALL: Objection. Or north
  20     or south.
  21         Q. Let me start by saying do you know
  22     whether the Long Island Rail Road goes
  23     north-south or east-west?
  24         A. It's travel north-south at that
  25     location over by East Rockaway. You have

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     Sunrise Highway railroad that goes east-west.
   3     Then you have it where it comes off somewhere
   4     by, maybe Valley Stream, I'm not sure where,
   5     and comes down that way.
   6             MS. CORNWALL: I'm a little confused.
   7     For the record, you're referring to where she
   8     says she was at Central?
   9             THE WITNESS: Central Avenue. Yeah.
  10             MR. FREEMAN: Do you have the other
  11     map as well? I have it here.
  12             THE WITNESS: I don't think you have
  13     it on here.
  14         Q. Do you want to look at -- either map?
  15         A. No. We're not talking about this
  16     east-west Sunrise Highway. We're talking
  17     about the one that cuts down Central Avenue.
  18     Oh, here it is. Here is the train. There it
  19     is. See?
  20             MS. CORNWALL: Just for clarity of
  21     the record, I ask that Debbie make a number 7
  22     at the intersection where she stopped where
  23     the gates were down and write that on the
  24     exhibit on the map.
  25             THE WITNESS: I'm not sure I did on

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2     Central Avenue or what. I'm sure I scooted
   3     around somewhere. Probably Central Avenue.
   4     Did I say Central Avenue in there?
   5             MS. CORNWALL: It's the bottom of
   6     page 1 of the statement.
   7         Q. Let me ask you this. I think earlier
   8     you indicated that the train tracks were
   9     visible on 170. I'm going to ask you to look
  10     at 170 again, which is this map, and see if
  11     you see some indication of where the train
  12     tracks are.
  13         A. On this map. Where do you see
  14     Rockland Avenue on here? I can't find it
  15     right now.
  16         Q. Look at the bottom of the map. I
  17     would rather not point to you.
  18             Look at the bottom of the map and see
  19     if you see it.
  20         A. Here is Sunrise Highway, Lincoln.
  21     Here is Rockland. There it is. All right.
  22     We're not talking about this train track that
  23     I went around at all, you know.
  24         Q. Actually, I'm asking you is there an
  25     indication on that map of train tracks?

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      89
   1                                   Smith
   2          A.     Right here.        These little
   3     crosshatches.
   4          Q.     Are those the train tracks?
   5          A.     Those are the train tracks where I
   6     was waiting at the light.
   7          Q.     Would you use a yellow marker to
   8     indicate on 170 where the train tracks are?
   9                 (Witness complies.)
  10                 MS. CORNWALL:         Just for clarity of
  11     the record, Lou, this line of questioning
  12     pertains to the tracks, you're asking about
  13     the tracks where Debbie stopped and heard the
  14     sound and then drove through the underpass and
  15     saw the car?
  16                 MR. FREEMAN:         Yes.     The answer is yes
  17     to that.
  18                 THE WITNESS:         These are the tracks.
  19                 MS. CORNWALL:         As opposed to the
  20     tracks earlier on in the statement where the
  21     gate was down by Rockland and Center.
  22                 THE WITNESS:         That was East Rockaway.
  23     That's what I went around to avoid that
  24     intersection.         That's when I got onto Rockland
  25     Avenue and I was on Rockland Avenue by East

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      90
   1                                   Smith
   2     Rockaway.       And I traveled -- here is Rockland
   3     Avenue.      See this?        And here is Central
   4     Avenue.      See this?        This is another set of
   5     train tracks.         Just going from my boyfriend's
   6     house, these are the trains at East Rockaway.
   7     See them?       I was coming from his house over
   8     here, let's say, and went and saw the train
   9     was coming and I looked up and down Rockland
  10     Avenue, which is here, and I went up to
  11     Rockland Avenue and that's where I stopped at
  12     a red light on Sunrise Highway.                   See the train
  13     tracks there?
  14          Q.     Thank you.
  15          A.     So I stopped at that red light and
  16     that's where I heard the scream.
  17          Q.     Is it your testimony that there are
  18     also train tracks indicated on this map, and
  19     if so, would you mark those train tracks in
  20     yellow as well.
  21          A.     Mark them, too?
  22          Q.     Yes, please.
  23          A.     Where I went around the light?
  24          Q.     I'm not sure it's on the map but --
  25          A.     It's here.        See the crosshatch?

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     Little crosshatch?            My boyfriend's house is
   3     here in East Rockaway, let's say.
   4          Q.     Below the map?
   5          A.     Right.      Now I'm heading north.                I
   6     have to pass these tracks.                If I see a train
   7     is going to come, I'll quick jump onto
   8     Rockland Avenue here, get onto Rockland Avenue
   9     as fast as I can.           Then I took Rockland Avenue
  10     all the way up out of East Rockaway into
  11     Lynbrook.       And then, now, this is the Babylon
  12     line of the Long Island Rail Road -- did you
  13     ever hear of Babylon?
  14          Q.     Yes, I have.
  15          A.     That goes through Lynbrook, Freeport.
  16          Q.     So is it also true that on Exhibit
  17     264, one can see the intersection where you
  18     stopped, Rockland Avenue --
  19          A.     And Sunrise Highway.             Yes.     Here is
  20     Rockland Avenue.           Here is Rockland Avenue and
  21     the 27 equals Sunrise Highway.                  27 is Sunrise
  22     Highway.      Here, see Rockland?
  23                 Don't forget, I'm stopped.                This
  24     brown mark here, that's the Long Island Rail
  25     Road.

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2                 So I'm stopped over on Rockland
   3     Avenue right -- I'm on the south side of
   4     Sunrise Highway.           Here.     That's where I hear
   5     the sound.
   6          Q.     Could you use this marker to put your
   7     location?
   8          A.     On which one?
   9          Q.     Use this one.         264.
  10          A.     All right.
  11                 Here is Rockland and Sunrise and I'm
  12     on the south side of Sunrise Highway.                       This is
  13     East Rockaway section, then it becomes
  14     Lynbrook here.          Here is that Hot Skates where
  15     I think the girl worked.
  16          Q.     Could you please put a circle around
  17     the area you marked with the highlighter, use
  18     that pen, if you will, so we can tell?
  19     Because the marker didn't make as much color
  20     as I had hoped.
  21                 (Witness complies.)
  22                 THE WITNESS:         See how you see 27?
  23     Sunrise.      Rockland.
  24          Q.     Okay.     So I'm going to focus you on
  25     being stopped at the light.                All right.

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       DEBRA SMITH                                                 March 22, 2011
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   1                         Smith
   2             So you're stopped at the light on
   3     Rockland heading north?
   4         A. Heading north.
   5         Q. You stopped at the light.
   6         A. Right.
   7         Q. You say you have the window down
   8     because you are smoking a cigarette?
   9         A. Bad vice.
  10         Q. Right. So you say at that vantage
  11     point, you heard the scream before -- while
  12     you were still south of Sunrise Highway on
  13     Rockland; am I right?
  14         A. Yes.
  15         Q. Now, is the train line elevated at
  16     that point?
  17         A. It is above. If you go under it,
  18     it's above you. It is elevated.
  19         Q. And is there -- I think people have
  20     referred to that area as having a trestle?
  21         A. Yes. I call it a trestle.
  22         Q. Define trestle.
  23         A. Trestle is the structure of, like, a
  24     bridge that belongs to a railroad that they
  25     use to go over streets.

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2           Q.     And other than the trestle area where
   3     you can drive under the overpass, is it fair
   4     to say that there's -- that the Long Island
   5     Rail Road is on a hill?
   6           A.     Yes.
   7           Q.     Would you guess or estimate -- I
   8     didn't mean the word guess -- would you
   9     estimate -- sorry -- how high off the ground
  10     that is?       If you know?
  11                  MS. CORNWALL:        Sorry.      The hill or
  12     the track?
  13           Q.     The hill.      Or the track.          How high
  14     the track is.
  15           A.     Above you?       If you're on the ground
  16     below, track's got to be high enough for
  17     tractor trailers, trucks, buses to go under it
  18     and all kinds of traffic.               So what would that
  19     be?    15 feet, 20 feet?
  20           Q.     Thank you.       And do you recall how far
  21     the hill is from the south side to the north
  22     side?       In other words, there's dirt
  23     supporting --
  24           A.     Three lanes of traffic.              Sunrise,
  25     three lanes on one side, three lanes of

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     traffic on the other side and trestle comes
   3     right there.
   4          Q.     Okay.     You read my mind.
   5                 So you have three lanes, plus three
   6     lanes.      Six lanes of traffic before you get to
   7     the beginning of the structure that holds the
   8     tracks, keeps the tracks 15 or 20 feet up in
   9     the air; correct?
  10          A.     Right.
  11          Q.     And then there is dirt or a hill.
  12     And I'm asking you from the south side to the
  13     north side, how much space is there?
  14          A.     You mean like the sidewalk would be?
  15          Q.     Yes.
  16          A.     Got to be at least ten feet.
  17                 MS. CORNWALL:         Objection.         Calls for
  18     speculation.
  19                 MR. FREEMAN:         If she knows.
  20          A.     No.    It's got to be more.              It's got
  21     to be a car length.            Well, think.          Sunrise
  22     Highway to the overpass.               Do you know this
  23     area that we're talking about?                  It's got to be
  24     at least a car length.              20 feet.
  25          Q.     So what you're saying, now that we've

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     gone over the numbers -- by the way, do you
   3     know the approximate distance from the light
   4     to the other side of Sunrise Highway?                       In
   5     other words, how many feet six lanes is the
   6     equivalent of?
   7                 MS. CORNWALL:         Objection.
   8          A.     I don't know how many six lanes is
   9     the equivalent of.            Maybe 60 to 80 feet.
  10                 MS. CORNWALL:         Objection.         At this
  11     point the witness is guessing.
  12                 THE WITNESS:         You know what I'm
  13     guessing?       I'm saying if you take a car
  14     length, you go across the highway.
  15                 MS. CORNWALL:         It's something we
  16     could measure.
  17          Q.     Well, you may answer, if you know.
  18          A.     I don't know definitively.                But I
  19     would guess it's got to be at least 80 feet.
  20          Q.     Not only did you use that road or you
  21     used it from time to time, but you also drove
  22     a cab in that area; correct?
  23          A.     Yes.
  24          Q.     And so spatially or distance wise,
  25     you're indicating that you heard a scream from

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     approximately 90 feet; correct?
   3                 MS. CORNWALL:         Objection.
   4          A.     Yeah.     But I have a story behind
   5     that.
   6          Q.     We'll get to that.
   7          A.     I can hear better than you can, or
   8     could.
   9          Q.     Is that what you're saying, that you
  10     heard a scream?
  11          A.     Yes.     Yes.
  12          Q.     I'm going to ask you the next
  13     question.       And that is, to your recollection
  14     was the scream coming from the north side or
  15     was it coming from the south side as you were
  16     facing the trestle?
  17          A.     I'm facing the trestle, which means
  18     I'm looking towards the north and the scream
  19     was coming from the north to -- slightly to my
  20     left or slightly to the west.                 Northwest is
  21     where it was coming from.
  22          Q.     So on the far side of the trestle.
  23          A.     Right.
  24          Q.     And now I'm going to ask you where
  25     the car was that you saw when you went past

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       DEBRA SMITH                                                 March 22, 2011
                                                                                      98
   1                                   Smith
   2     the light under the trestle?
   3          A.     Right to the right there.
   4          Q.     How many --
   5          A.     Or to the east.
   6          Q.     Okay.     How long did it take you, if
   7     you can recall, to get from the spot where you
   8     were stopped at the light to where you saw the
   9     car?
  10                 Do you understand the question?
  11          A.     Well, do you mean how long was I
  12     waiting for that light to change?                    Time period
  13     there?
  14          Q.     I'm going to ask you to
  15     incorporate --
  16          A.     The whole shebang?
  17          Q.     Yes.
  18          A.     It was a very long light.                Rockland
  19     Avenue is a small intersection.                   I was there a
  20     while.
  21          Q.     What's a while to you?              Does that
  22     mean one minute, five minutes?
  23          A.     At least three minutes to four.
  24          Q.     So it's your testimony that you were
  25     at the light three or four minutes and then

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       DEBRA SMITH                                                 March 22, 2011
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   1                                   Smith
   2     you went through the intersection under the
   3     trestle; correct?
   4          A.     And pulled my car to the right.
   5          Q.     You pulled your car to the right.
   6     Did you park -- or stop, I should say -- stop
   7     your car behind the car that we're talking
   8     about?
   9          A.     That car was up more.             Mine was north
  10     of it.      North.
  11          Q.     Okay.     Now, you didn't stop because
  12     of the car.        If I understand, you stopped --
  13          A.     I stopped because of the scream.
  14          Q.     And, as you said, earlier you wanted
  15     to explore?
  16          A.     I wanted to investigate.               I thought
  17     some boys were giving a girl a hard time.                           And
  18     I wanted to find out if I could help her.                           I
  19     just thought:         You know what?          Who do they
  20     think they are?          And I just...
  21          Q.     And I think you testified that you
  22     were afraid or a little scared?
  23          A.     I had reservations.            I was definitely
  24     afraid.
  25          Q.     But that wasn't going to stop you?

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           A.    Oh, what stopped me were those high
   3     heels of mine.
   4           Q.    We'll get to that in a minute.
   5           A.    That stopped me.
   6           Q.    I understand you have been given a
   7     commendation for helping out during what I
   8     believe to be -- you'll correct me if I'm
   9     wrong -- an accident or some other occasion
  10     where you helped someone in distress while you
  11     were driving a taxi cab; is that right?
  12           A.    Yes.     In Hempstead.
  13           Q.    Was that before or after this
  14     incident?
  15           A.    Before.
  16           Q.    Tell me about the incident.                  Because
  17     apparently you are willing to --
  18           A.    Take a chance.
  19           Q.    --    take a chance.          Yes.
  20           A.    Well, what would you do?
  21           Q.    I'm asking you to tell us.
  22           A.    I was turning in my taxi cab in
  23     Hempstead.        I turned it in.           Even though I
  24     drive in Lynbrook and it has Lynbrook Cab on
  25     it, I bring it to the main depot in Hempstead

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     where you get gasoline, check the car out and
   3     all that.       I was almost there when I saw this
   4     little old man being beat up by three gang
   5     boys, three guys beating on this one
   6     defenseless man.           Well, I had to stop.                I
   7     stopped my car, I jumped out.                  And right away,
   8     they stopped shaking him down and beating him
   9     up.    And I guess one of them was getting ready
  10     to come at me when I saw out of the corner of
  11     my eye a cop car passing the intersection.                              So
  12     I jumped out in the intersection screaming for
  13     help because it was a cop.                The cop came
  14     along, he caught the guys.                And that's what I
  15     did.
  16                 But it was one older man.                A man,
  17     maybe 70 years old being beat up by three
  18     20-year-olds.          I mean, who wouldn't stop?
  19           Q.    Glad you did.
  20           A.    Yeah.
  21           Q.    Now, let's go back to this incident.
  22           A.    I would do the same thing.
  23           Q.    You said that -- earlier you said
  24     that you would explain why your hearing is
  25     better than the average person's hearing?

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           A.    Yes, it is.
   3           Q.    Would you tell us how that's so?
   4           A.    I went for a complete physical over
   5     on -- that hospital on Merrick Road and --
   6     what is it?        Oceanside Hospital?              That's
   7     Merrick Road?          One of the hospitals right over
   8     there.      And it was for a complete physical.
   9                 I'm going for the hearing portion of
  10     the test.       So I keep on -- I look at the
  11     woman.      I keep raising my hands, whatever she
  12     tells me, you know.             Right hand this sound,
  13     that sound.        She keeps doing the same sounds
  14     over and over.          I said to her, "Look, you just
  15     did four times the same exact sound over and
  16     over again.        Why are you doing that?"                  She
  17     goes, "Because I can't believe what I'm
  18     seeing.      I can't believe what you're hearing."
  19     She goes, "Do you understand that you can hear
  20     better than a dog can?"
  21     I said, "What?"
  22     She said, "Human beings can't hear that."
  23           Q.    When was that examination, how
  24     recently?
  25           A.    It was '79.         '79.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           Q.    I see.      Before this incident?
   3           A.    It was before the incident.                  A long
   4     time ago.
   5                 So she said to me, "How did you get
   6     such good hearing?            I'm shocked."          So she was
   7     amazed that I could hear what I could hear.
   8     That's why I also knew that I had extra
   9     special hearing, good hearing, that most human
  10     beings can't hear what I hear.                  That's why I
  11     only picked the one sound, the loudest yell.
  12     Because they would then believe what I could
  13     hear, you know what I mean?                 Because it was so
  14     far away.
  15           Q.    I understand your testimony that, to
  16     your knowledge, you have hearing that's better
  17     than the average person.
  18           A.    Yes.
  19           Q.    Could you tell us how you knew that
  20     the scream that you heard was coming from a
  21     particular direction or a particular place?
  22           A.    Well, if I'm to understand it, I
  23     might not have had that right.                  I, for some
  24     reason, thought it was coming up.                    Like,
  25     because from the distance it was, I thought it

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     was coming from up on the trestle.                     But if I'm
   3     to understand it -- and I just read it today
   4     in the article -- the girl was found
   5     underneath somewhere by the little forest or
   6     woods there.         So maybe I didn't hear right.
   7     You know what I mean?              I thought it sounded
   8     like it was coming up and to the west.
   9                  All I know, it was coming west and it
  10     seemed up.        I might have been wrong about
  11     that.       That's why I was going up to the
  12     trestle to look and see.               Maybe I should have
  13     walked along those woods there and looked and
  14     looked and looked.            That's what I should have
  15     done, just taken a walk along the woods.                           But
  16     I was afraid to get in trouble with the police
  17     because my car was parked where it was not
  18     legally parked.
  19           Q.     How long did you leave your car
  20     unattended, if you recall?
  21           A.     I was mostly -- you could see it from
  22     where I was.         Because I started to walk up
  23     that trestle, up that little hill.
  24           Q.     And it's your testimony -- and you
  25     seem to be clear about this -- that the night

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       DEBRA SMITH                                                  March 22, 2011
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   1                         Smith
   2     that you heard the scream was the same night
   3     as the dance; correct?
   4         A. Yes.
   5         Q. And that you were wearing high heels
   6     because you had been to the dance?
   7         A. Right.
   8         Q. And that the dances usually took
   9     place on a Friday or a Saturday?
  10         A. Right.
  11         Q. And you went with James Pearson?
  12         A. Right.
  13         Q. And I think you said you went with
  14     his mother?
  15         A. Right. Mom went, too, because her
  16     daughter is performing.
  17         Q. When you say daughter is performing,
  18     what do you mean?
  19         A. These are folkdances, Swedish or
  20     Finnish folkdance.
  21         Q. Is it a dance that is observed by an
  22     audience or --
  23         A. Yes.
  24         Q. -- something that you partake in?
  25         A. Both. First part of the show we

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     observe the folk dancers dancing.                    And
   3     Mrs. Pearson's daughter was a folk dancer.                              So
   4     she would want to go with Jimmy and me to the
   5     dance.       After that, they had dancing and food
   6     and whatever.
   7           Q.     How many times, if you recall, did
   8     you go to such an event?
   9           A.     I went to them two, three times a
  10     year.       So I've been to -- I've been to at
  11     least ten of them.
  12           Q.     And do you know whether this
  13     particular -- do you know if they were more
  14     than one Swedish or Finnish folkdance that
  15     time of the year?
  16                  Do you understand my question?
  17                  In other words, are they every week
  18     or spaced out?
  19           A.     No, no.      They're special.           They're
  20     special.       Lucia, the Lucia is one dance.                      It's
  21     spaced out.        One every three, four months
  22     maybe.       Usually for something special like the
  23     Lucia.       Like James Pearson's sister was Lucia
  24     one year.       Dressed in all white, pure,
  25     virginal type of costume.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           Q.    So getting back to your exploration
   3     in heels.       How far -- were you trying to go
   4     up?
   5           A.    I was trying to go up that little
   6     hill that's towards the trestle.                    I wanted to
   7     go up there and see if I could see anything
   8     down the tracks or see if I could see anything
   9     on the side of the -- there.                 And --
  10           Q.    How far up were you able to get?
  11           A.    I went halfway up.            And then my heels
  12     were, like, digging into the dirt, soft dirt.
  13     So my heels were digging in.                 And I was all
  14     off kilter.        I was afraid to fall and hurt
  15     myself.      I was going by the tracks.                  I didn't
  16     know how it looks up there.                 I don't know how
  17     close they are to the trestle I'm climbing.
  18     It's a little dangerous to do that.
  19                 And then I said what if somebody is
  20     having a fight with their boyfriend and I come
  21     along and they toss me onto the tracks?
  22                 Well, I do these things.
  23           Q.    So you've actually had a number of
  24     adventures, right?            I mean, aside from this.
  25     I think you just made a reference of a fact

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     that -- withdrawn.
   3                  You said, "I do these things," right?
   4           A.     Well, you know, if I think it's
   5     something -- one time I'm driving along and
   6     this car in front of me hit this little boy or
   7     barely hit him.           They were making a big deal.
   8     It was in Hempstead.             A whole gang of blacks
   9     ready to attack this little old man driving
  10     his car.
  11                  So I come along and I pull up behind
  12     him and I get out of the car.                  And I said,
  13     "Well, come on.           We have to get this kid to
  14     the ambulance."           You know?       I said, "He's
  15     alive.       It's okay."        But they wanted to kill
  16     the guy who accidentally hit the kid.                        So I
  17     tried to, like, stop it.               You know what I
  18     mean?       And I did.
  19           Q.     So you're willing to take risks when
  20     the situation requires?
  21           A.     Yeah.     I guess.
  22           Q.     Have you ever taken risks -- did you
  23     take a risk by going on the Achille Lauro?                              Or
  24     maybe you didn't know something was going to
  25     happen?

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           A.    No.    I didn't know anything was going
   3     to happen.        I was told by the Italian ship
   4     liners, "Do not take this ship because it is
   5     not a union ship.            It is not a union ship.
   6     They get in trouble, hijacked, all kinds of
   7     problems.        Don't take it."
   8                 But here I was.           I'm traveling alone.
   9     I want to get to Greece.               So I said:          I'm not
  10     going to let this stop me.                I'm sure I won't
  11     get a bad ship.
  12                 So I went to the un-union ships,
  13     signed up for the Achilles Lauro and I went on
  14     it.    That was just because I wanted to go.
  15     And I knew that the Italian ships wouldn't be
  16     going for days and days and days.                    I just
  17     wanted to go.
  18           Q.    You testified that you were in Europe
  19     for approximately two months?
  20           A.    Yeah.
  21           Q.    And you --
  22           A.    Alone.
  23           Q.    --    gave a long list of countries,
  24     including Afghanistan, Iran?
  25           A.    Yeah.      That happened after the

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     Achilles Lauro.            I ended up in the Middle
   3     East.
   4         Q. I'm trying to figure out if you were
   5     able to visit all of those countries in that
   6     two-month period.
   7         A. Oh, yeah. Because I have a Euro
   8     Pass. So when I'm going -- say I'm in
   9     Portugal. Because when I was in Portugal, I
  10     got mugged and I wanted to get out. So they
  11     had the super trains. And in ten hours, you
  12     would be all the way to Germany.
  13             One day I'm in Portugal. Ten hours
  14     later, I'm in Germany. And I used to do it,
  15     hook up all those trains I took, I took at
  16     night with sleeping time. So I slept on the
  17     train and then I went to the next country
  18     while I was sleeping. And I managed to
  19     optimize my time. I made it so every moment
  20     counted, even sleeping. I was traveling en
  21     route.
  22         Q. Did you use the Euro Pass to get to
  23     Afghanistan?
  24         A. No. You're not allowed to. No.
  25     Euro Passes are only allowed to be used in

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     Europe.      Any country in Europe, anywhere, any
   3     bus, any train.           Any -- all those things you
   4     can take with Euro Pass.               Cruises, you can
   5     take the Euro Pass.             But not Afghanistan,
   6     India, all those other areas.
   7                 But I had $10,000 on me.                Can you
   8     imagine if they knew I was walking around with
   9     $10,000 on me?
  10           Q.    Did you go to Afghanistan?
  11           A.    Yes.
  12           Q.    How long did you stay there?
  13           A.    Oh, no.       I was just on my way through
  14     there.
  15           Q.    On your way to?
  16           A.    I was heading north to get back on
  17     track.      I was trying to go to a major city
  18     where I could take transportation back to
  19     Europe.
  20           Q.    What major city were you heading
  21     towards?
  22                 MS. CORNWALL:          Objection.        I think
  23     this is no longer a relevant line of
  24     questioning to the purpose of why this witness
  25     is testifying.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           Q.     You may answer.
   3           A.     At that point, I didn't know my
   4     Middle Eastern traffic that well.                    So I just
   5     kept telling people that I want to go to a
   6     major city.        But I didn't know the language.
   7     And they did speak English, some of them.                            But
   8     I don't recall at this point in time.
   9           Q.     Did there come a time when you flew
  10     on a jet -- I mean, a fighter jet?                     Not a
  11     passenger plane.           A fighter jet?
  12           A.     Yes, I did.
  13           Q.     Could you tell us the situation that
  14     allowed that at that happen?
  15                  MS. CORNWALL:         Objection.
  16     Irrelevant.
  17           Q.     You may answer.
  18           A.     I was in Iran and I was -- when I was
  19     in Iraq, they said that somehow friends were
  20     captured over in Iran.              So they asked if I
  21     would go over to help facilitate him getting
  22     out there.        I agreed to.         I went to Iran, it
  23     was in a cave type of area with a bunch of
  24     Iranian, I guess, military, if you call them
  25     that.       And the blood started flying.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2                 I accidentally touched the Iranian
   3     leaders' guy there and blood started flying.
   4     So I had to get out of there as quick as I
   5     could.      And I ran out of the cave, blood was
   6     flying.      They started to kill the guys in the
   7     cave.
   8                 I ran across the tundra, I call it,
   9     it's that kind of earth.               I ran across the
  10     tundra and there was, I think, an Iraqi plane.
  11     I don't know who it was.               But he landed his
  12     plane because he was talking to the guys
  13     running in behind me.              And as soon as they got
  14     him, they pulled him out and attacked him.                              So
  15     his plane was standing there empty.                      And I had
  16     taken flying lessons.              So hopped in the plane
  17     and took off with it.
  18           Q.    So this would be, again, during the
  19     two-month period that you were in Europe?
  20           A.    In '85.       Yeah.
  21           Q.    Let's talk about '84 for a minute.                          I
  22     certainly appreciate your candor and
  23     willingness to talk about your life openly the
  24     way you do.
  25                 In May '84, you were hospitalized;

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       DEBRA SMITH                                                  March 22, 2011
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   1                                    Smith
   2     correct?
   3         A. Right.
   4         Q. I think you said you were in the
   5     hospital for about seven days?
   6         A. A short period of time, yes.
   7         Q. If I understand your testimony
   8     correctly, when you were in the hospital
   9     you're medicated?
  10         A. Right.
  11         Q. And when you leave the hospital
  12     you're told to stay on medication; correct?
  13         A. Yes.
  14         Q. And, at least at that time in your
  15     life, meaning in '84, '85, '86, you aren't
  16     always --
  17         A. Compliant.
  18         Q. -- following doctor's orders to stay
  19     on medication; is that right?
  20         A. Correct.
  21         Q. When you didn't take your medication
  22     was there a time period that you can tell us
  23     about that would -- let me rephrase the
  24     question.
  25              In other words, if you didn't take

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     your medication, could you last six months
   3     without an episode, a year, year and a half?
   4           A.    Usually about a year and a half.
   5           Q.    So I think you understand my
   6     question.       You could go without taking
   7     medication for a certain amount of time and
   8     then if you didn't take your medication, you
   9     would have an episode; is that fair statement?
  10           A.    Not exactly.         It depends on my
  11     lifestyle.
  12                 What I did basically, and most of my
  13     life was that -- before I had the kids -- was
  14     that I worked three jobs and also would go to
  15     school.      Now, that would be school part-time
  16     probably.
  17                 But when I was working school -- when
  18     I was going to school full-time, I was working
  19     two full-time jobs.             So here I have three
  20     full-time jobs.           So basically some people
  21     thought that I overdid it.                That going to
  22     school full-time and working two full-time
  23     jobs or working a full-time and two, three
  24     part-time jobs was too much.                 For anybody.
  25     Who do you know that ever worked two

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     full-times jobs going to Hofstra University
   3     with 17 credits, computer science.                     Not an
   4     easy major, but a tough major, computer
   5     science.       So I would burn out.
   6                 Also, I worked nights.              A person like
   7     me can't work nighttime hours like midnight to
   8     6 a.m.      I used to drive a cab from 5 p.m. to 5
   9     a.m. all through the night.
  10                 Also, another thing is I worked the
  11     post office.         I worked for the federal post
  12     office all night long, 11:00 to, like, 7:00,
  13     8:00 in the morning.             Then I went to school.
  14     Then I went to two other part-time jobs.
  15                 So I'm doing all this work that you
  16     burn out.
  17           Q.    Let me ask you this question.                    Do you
  18     think that holding two or three jobs and going
  19     to school, that is it fair to say that your
  20     energy level is very high?
  21           A.    Oh, I'm dying.          The whole way through
  22     I'm dying of fatigue and exhaustion trying to
  23     do that.       I did it years at a time.                 But I was
  24     dying.
  25           Q.    Had you ever heard the phrase --

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           A.    Manic.
   3           Q.    -- manic?
   4                 Were you manic at certain times when
   5     you didn't take your medication?
   6           A.    Yes.     I would say so.
   7           Q.    And, by the way, could you look at
   8     158, this document?             I'm going to ask you --
   9     do you need a copy or you have it?
  10                 MS. CORNWALL:          I have it.
  11           Q.    I'm going to ask you if you recall
  12     approximately what time -- you don't have to
  13     look at it yet.           You can look at it or not.
  14     It's up to you.
  15                 Do you recall the first time you
  16     called the police what time it was?
  17           A.    I think it was in between my jobs or
  18     something.        I think it was late.              I don't
  19     think it was early.
  20           Q.    Well, depends on how you define early
  21     and late.       I don't know what you mean.
  22           A.    I don't really remember.                But I
  23     remember it not being -- I don't know.                         It was
  24     not 9 to 5, I think.             I don't remember
  25     exactly.       When was it?

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           Q.     I don't know.         I'm going to ask you.
   3                  I'm going to ask you to look at this
   4     document, 158.          I'm going to ask you to look
   5     at the upper left-hand corner --
   6           A.     Oh, it's late.         Between 21:00 and --
   7           Q.     No.   Look higher.
   8                  MS. CORNWALL:         Objection.
   9     Foundation, what the document is and whether
  10     it refreshes.
  11                  MR. FREEMAN:        I'm going to ask her.
  12           Q.     I'm going to ask you to look at a
  13     document and see if it refreshes your
  14     recollection.          It's 158.       And I'm going to ask
  15     you if the document refreshes your
  16     recollection as to the time that you called in
  17     to the police for the first time.
  18           A.     Oh, my God.        I must have been driving
  19     the taxi.       Look what time.           Is that the time?
  20     4:25?       That's a.m., isn't it?
  21           Q.     I'm asking if it refreshes your
  22     recollection.          Not whether it's true or not.
  23           A.     Sure.     Reading this will refresh my
  24     recollection.          Excuse me.        Refresh my
  25     recollection.          Excuse me.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2                 MS. CORNWALL:          You might want to
   3     define that.
   4                 MR. FREEMAN:         Define what?
   5                 MS. CORNWALL:          "Refreshing
   6     recollection" in a sense of does it bring back
   7     a memory.
   8                 MR. FREEMAN:         I'll be happy to do
   9     that.
  10           Q.    Does looking at the document, any
  11     part of it, bring back a memory as to what
  12     time you called the police for the first time?
  13           A.    I thought I called at a strange time
  14     of the day.        I thought I called very early.
  15           Q.    Would 4 a.m. be very early?
  16           A.    Yeah.
  17           Q.    Is that what you mean by very early?
  18           A.    Yeah.
  19           Q.    Okay.      I'm just asking.
  20           A.    I thought I called, like, at a
  21     strange time.          But it was probably because --
  22     you know why I might have called?                    Because I
  23     remember seeing it and I thought I was driving
  24     my Lynbrook Taxi at that point.
  25           Q.    Seeing what?         You said "seeing it."

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           A.    Seeing the poster that has the phone
   3     number on it.          The poster of the missing Fuchs
   4     (phonetic), whatever -- Fusco?
   5           Q.    Correct.
   6           A.    And I said, "Oh, my God.                I might
   7     have heard something."              And said I should call
   8     as soon as I could.             It was the middle of the
   9     night.      But I was up, I was working.
  10           Q.    Even if you weren't working driving a
  11     cab, would you be -- if you were in a manic
  12     stage would you have trouble sleeping?
  13           A.    No.    No.     I love my sleep.            Do you
  14     know that I sleep -- this is a terrible thing
  15     to confess to -- but I sleep ten hours every
  16     night medicated or not medicated.                    And when I
  17     have to be sleep deprived, I crack like a nut.
  18     Literally.
  19           Q.    Do you know -- or can you help us
  20     with this question?
  21           A.    Go ahead.
  22           Q.    In November of 1984 --
  23           A.    Right.
  24           Q.    --    you were working at Ceramic; you
  25     testified to that, correct?                 In November '84

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     you've already testified that you were working
   3     at Ceramic?
   4           A.     All I remember, what I was
   5     definitively doing in '84, I know I had three
   6     jobs because I remember saying to some people
   7     on the trip, well, look, I begged them to
   8     sleep for a year of working.                 I know a
   9     computer program analyst, that was 8 to 4 --
  10     what day was this?            On the 9th, was it a
  11     weekend?
  12           Q.     I'm asking you at the moment,
  13     generally in November of '84 --
  14           A.     I cleaned boats and cars --
  15           Q.     Go ahead.
  16           A.     -- part-time after work during the
  17     week.       And I did something on the weekends.                          I
  18     can't remember what it was.
  19           Q.     Was it cleaning houses?
  20           A.     No.   It wasn't cleaning houses or
  21     boats.
  22           Q.     Was it driving a taxi?
  23           A.     I thought, if I would have guessed, I
  24     thought I did one day a week on Saturdays from
  25     5 to 5.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           Q.    5 p.m. to 5 a.m.; correct?                 Is that
   3     what you mean?
   4           A.    Right.      5 p.m. to 5 a.m.
   5           Q.    Can you be any more certain as to
   6     what you were doing in November of '84?
   7     You've just told us --
   8           A.    I can't be sure.           Oh, I was going to
   9     school part-time for accounting.
  10           Q.    So in other words, even though you
  11     had graduated from Hofstra in May of '83, you
  12     were going to school for another subject?
  13           A.    Why.     Because a program -- it has to
  14     be a mass of two things.               You have to know
  15     programming, computers.               But you have to know
  16     a subject matter.            Accounting is an
  17     application that's often -- I was programming
  18     at that time.          I was programming accounts
  19     payable.       So I needed to know accounting in
  20     order to program it correctly.                  How can I
  21     program something I don't know?
  22           Q.    So to the best of your recollection,
  23     in November you worked for American Ceramics
  24     as a computer programmer.                You also were going
  25     to school for accounting.                You were also

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     cleaning boats.           You were also cleaning houses
   3     and you believe you were driving a cab;
   4     correct?       Some or all of those.
   5           A.    All of them.         Only one I'm not sure
   6     about was the cab bit.              But if I did, I was
   7     driving it Saturday 5 to 5.                 5 p.m. to 5 a.m.
   8     That's the only way I can explain calling at
   9     that strange hour.
  10           Q.    Did you ever work driving a cab on
  11     Friday nights?
  12           A.    Yes.
  13           Q.    During November.
  14                 MS. CORNWALL:          If you recall.
  15           Q.    If you recall.
  16           A.    Yeah, I did.         But I can't say it was
  17     November.       I have worked Friday and Saturday
  18     night.
  19           Q.    If you had a plan with your boyfriend
  20     to go to a dance in Brooklyn, would you have
  21     to make special arrangements to get off of
  22     work?
  23           A.    I would have to ask to get off.
  24           Q.    Now, remind me.           In November of '84
  25     your children weren't born yet; correct?

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       DEBRA SMITH                                                  March 22, 2011
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   1                         Smith
   2         A. No. My oldest is 1989.
   3         Q. And in 1989, you testified, that once
   4     you had your first child, you didn't work
   5     full-time anymore?
   6         A. I never worked full-time anymore.
   7     No. That's it.
   8         Q. Raising children is a big
   9     responsibility; correct?
  10         A. Yes. It takes a lot of time. Even
  11     to this day, I still drive my children to
  12     school, to work, to all over the place.
  13         Q. Have you and your children ever lived
  14     in the same house full time?
  15         A. In Brooklyn.
  16         Q. When was that?
  17         A. 1989 to 1997 when Paul died.
  18         Q. Is that your husband?
  19         A. Yes.
  20         Q. And subsequent to that, have your
  21     children lived in the same house with you?
  22         A. No. I can't live with my father. I
  23     need my own space. My father, he has custody
  24     of them. I mean, I go there every day, cook,
  25     clean, do everything I have to do every day.

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       DEBRA SMITH                                                  March 22, 2011
                                                                                     125
   1                                   Smith
   2     But, no.       They don't live in my apartment.
   3           Q.    Is that because of a court order or
   4     is that voluntary?
   5           A.    My personal opinion on it?                 Is my
   6     father didn't have any money for his golden
   7     years.      So he wanted the checks for the kids.
   8     And so he went to court and fought custody and
   9     he won.      I lost custody of my kids.
  10           Q.    Do you recall the basis for his
  11     petition?
  12                 MS. CORNWALL:          Objection.        Family
  13     proceedings are, I believe, private and
  14     privileged in New York State.                  So it's your
  15     choice of whether you choose to answer that or
  16     not.
  17                 THE WITNESS:         It's all right.
  18           A.    No.    I don't remember.            All I
  19     remember is we had a custody battle and he won
  20     custody.       Because of my psychiatric
  21     background.        Which, as you can see, hampers
  22     and gets in the way very frequently.
  23           Q.    Getting back to Sunrise Highway and
  24     Rockland, did you --
  25                 MR. FERGUSON:          At an appropriate time

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       DEBRA SMITH                                                  March 22, 2011
                                                                                     126

   1                         Smith
   2     I need to take a recess. I just need to use
   3     the restroom.
   4             MR. FREEMAN: Let's do it now, then.
   5             (Recess taken.)
   6          Q. Before today's deposition, did you
   7     meet with somebody by the name of Mary?
   8          A. Yes.
   9          Q. Who is Mary? What is her role in
  10     this case, if you know?
  11          A. Mary is a private detective for
  12     Restivo, I believe, Kogut and the other
  13     fellow.
  14          Q. And how many times did you meet with
  15     her?
  16          A. Once.
  17          Q. Where was that?
  18          A. In my apartment.
  19          Q. And how long did that meeting take?
  20          A. About two hours.
  21          Q. Was anybody else present?
  22          A. No.
  23          Q. Did Mary write, take notes while she
  24     was talking to you?
  25          A. Yes.

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       DEBRA SMITH                                                  March 22, 2011
                                                                                     127
   1                                   Smith
   2           Q.    Did she sign -- sorry.              Did she ask
   3     you to sign a statement?
   4           A.    No.
   5           Q.    Did you meet with the attorney for
   6     the plaintiffs, Ms. Cornwall, before today?
   7           A.    Not that I think -- I don't know.                        I
   8     don't think so.
   9           Q.    Let's talk to the same --
  10           A.    No.
  11           Q.    I'm talking about the woman sitting
  12     here, the blond sitting across from you.                           Did
  13     you ever meet her before today?
  14           A.    I don't think so.
  15           Q.    When you talked to Mary, did you talk
  16     about the case?
  17           A.    That's all we talked about.
  18           Q.    Did she talk about the facts of the
  19     case?
  20           A.    She mentioned -- no.             I don't
  21     think -- me might have mentioned a few things
  22     that were on the map, type of thing.
  23           Q.    Did she talk about whether she
  24     believed the three men that you've just named,
  25     whether she believed them to be innocent or

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     not?
   3           A.     She believed them to be innocent.                       I
   4     said to her I wasn't so sure.                  I said to her,
   5     "Why would the D.A. go through all the trouble
   6     of prosecuting them?"
   7           Q.     And did she -- I think you said you
   8     talked about the map; correct?
   9           A.     Well, things about the map.                 Like the
  10     car, that type of thing that were on the map,
  11     those numbers on the map.
  12                  She didn't have that map, though.
  13     She didn't produce it.              She just spoke about
  14     the car, where it was, where my car was.                           That
  15     type of thing.
  16           Q.     When was this meeting?             Do you
  17     recall?
  18           A.     I was home.        I heard the doorbell
  19     ring.       I opened the door.           "Oh, hello.           Who
  20     are you?"
  21           Q.     Would this be five years ago, one
  22     year ago?
  23           A.     Oh, this is this year.             Last month,
  24     month and a half.
  25           Q.     So you were surprised?

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       DEBRA SMITH                                                  March 22, 2011
                                                                                     129
   1                                   Smith
   2           A.    Very -- shocked.           I almost bawled
   3     over.
   4           Q.    Well, you had met with Mr. Ferguson;
   5     correct?
   6           A.    Yes.
   7           Q.    Was Mr. Ferguson before Mary or
   8     after?
   9           A.    Mr. Ferguson was first, then Mary.
  10     Then Mr. Ferguson again.
  11           Q.    So you've had a lot of visitors
  12     lately?
  13           A.    I didn't want anymore.              I said,
  14     "Look, we're talking about a long time ago.
  15     You expect me to remember 27 years ago?"                           I
  16     had trouble getting the dates straight three
  17     weeks after the fact.              If you think about it,
  18     I didn't want to be bothered with it.
  19           Q.    You just made reference to the fact
  20     that you didn't have the dates straight three
  21     weeks after the incident involving the scream;
  22     correct?
  23           A.    Yeah.      Because I'm looking at this,
  24     the date the lead was received.                   I didn't call
  25     until December 9th.             That's when I saw the

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       DEBRA SMITH                                                  March 22, 2011
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   1                          Smith
   2     poster. I didn't see the poster before then.
   3             I thought there might be some, you
   4     know, something to it. So I decided to call
   5     them.
   6             But look at that. That's one month
   7     after everything started happening.
   8         Q. When you first met with the
   9     detectives, you told them that you thought
  10     that the incident -- your hearing the scream
  11     incident -- might have been between the 17th
  12     and the 20th of November. Do you have those
  13     dates right?
  14         A. "Called and stated that between 11/17
  15     and 11/20 she was driving over Sunrise to
  16     Rockland."
  17             But don't forget. What time? It was
  18     4:00 in the morning.
  19         Q. What does that mean to you?
  20         A. Meaning, I'm ready to go to bed and
  21     I'm tired. Meaning I must have been driving
  22     the taxi.
  23             What's 129? I was up because I was
  24     doing some kind of work. I had to be doing
  25     something.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           Q.    Are you suggesting that if you were
   3     up and you were tired, you might not have been
   4     as accurate about facts as you would have been
   5     if you had just gotten up from a ten-hour
   6     sleep?      Is that what you're saying?
   7           A.    It depends on my schedule, what I was
   8     doing before that.            Did I have a class that
   9     day?     Did I work full-time as a programmer?
  10     Did I work full-time as a taxi driver that
  11     night?
  12                 That's bedtime.           I'm supposed to be
  13     going home and going to bed.
  14           Q.    So I'm asking you --
  15           A.    What does it mean?
  16           Q.    Yes.
  17           A.    I think after a good night's sleep, a
  18     good ten-hour's sleep, everybody is a lot more
  19     fresher and alert than they are after a 15-,
  20     16-, 20-hour day.
  21           Q.    On 160 -- I think you might have that
  22     in front of you here -- on 160, you called in
  23     and you said that you had called the command
  24     bus.     Do you know what a command bus is?
  25           A.    Yes.     A bus they put on the scene of

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       DEBRA SMITH                                                  March 22, 2011
                                                                                      132
   1                                   Smith
   2     the accident or scene of a crime that they
   3     collect information from.
   4           Q.    Do you recall seeing a command bus in
   5     this case?
   6           A.    No.
   7           Q.    Does this refresh your recollection?
   8           A.    I did call -- I know I called back
   9     when I said:         No, I've got the date wrong.                       It
  10     was the week before and I called them up to
  11     tell them that.
  12           Q.    Do you recall what made you call and
  13     say that you got the date wrong?                    Was there a
  14     triggering event?
  15           A.    Because I think somebody might have
  16     mentioned to me it's a misdemeanor if I make a
  17     false statement or lie.               So that, to me, was:
  18     Oh, my gosh.         It wasn't that week.              It was the
  19     week of the dance, the 10th, 11th or 12th.                              So
  20     I knew I had the date wrong.
  21           Q.    Was it --
  22           A.    Because I called on the spur of the
  23     moment when I saw I was over by -- I think I
  24     was over by Lynbrook Taxi.                I saw the poster,
  25     I saw that it said about the missing girl.                              I

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       DEBRA SMITH                                                  March 22, 2011
                                                                                     133
   1                                   Smith
   2     said:       I better call right away.               So I called
   3     then and there.           That's why I called at such a
   4     strange hour.
   5                  I remember, whatever I was doing I
   6     stopped and said:            Wait a minute.          I better
   7     call right now even if it's a strange hour.
   8           Q.     Do you recall your testimony earlier
   9     that your boyfriend Mr. Pearson told you not
  10     to call?
  11           A.     Yeah.     Of course, he didn't want me
  12     to call.       "Debbie what are you going to do
  13     about it?       It's too late now.             Nothing to do
  14     with you.       It's a month ago.            Who can even
  15     remember?"
  16           Q.     But my question was, was he telling
  17     you not to call and then you called or did you
  18     call on the spur of the moment before you had
  19     a chance to talk to him?               That's my question.
  20           A.     I'm not sure.         At that hour, I would
  21     not have called him because he would be in bed
  22     sleeping.       So I wouldn't have called him.
  23                  So I might have called on the spur of
  24     the moment that I have to call and get this
  25     over with.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           Q.     I'm asking you if you called -- I'm
   3     asking you directly if you called the command
   4     bus on December 11, 1984 because you had read
   5     newspaper articles about the case?
   6           A.     No.    I didn't read anything about the
   7     case.       As a matter of fact, the first time I
   8     saw any article was the article you showed me.
   9                  MS. CORNWALL:         Exhibit 263 that I
  10     showed you at the beginning of the deposition.
  11           A.     Yes.    That one.        The only thing I saw
  12     was that poster about the missing girl.
  13           Q.     Do you read the papers regularly?                       I
  14     know you're busy.
  15           A.     Newsday.      Yes.
  16           Q.     Were you reading it in November of
  17     1984, if you recall?
  18           A.     I may have.        May have.       But if I'm
  19     really busy, I don't go into the back of it.
  20     I just read the first five or six pages.
  21     Maybe glance at the back sports page and move
  22     on.
  23           Q.     We've already gone over this.                   But
  24     you say that you remember seeing a rope in the
  25     vehicle that you saw at the corner of Rockland

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       DEBRA SMITH                                                  March 22, 2011
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   1                                    Smith
   2     and Sunrise?
   3         A. All kinds of tools.
   4         Q. But do you specifically remember a
   5     rope?
   6         A. Yeah, I did.
   7         Q. But I think you've indicated already
   8     that it's not in your statement; correct?
   9         A. No. It's not in my statement.
  10         Q. Do you recall --
  11         A. I just put that in with tools.
  12         Q. Okay. Are you testifying today that
  13     there should have been a rope because there
  14     were tools or are you testifying that you
  15     recall seeing a rope?
  16         A. I believe recalled seeing one.
  17         Q. Do you recall seeing jeans?
  18         A. I don't recall.
  19         Q. Do you know what I mean?
  20         A. Blue jeans, denim.
  21         Q. In the car?
  22         A. I don't recall seeing that.
  23         Q. Do you recall getting out of your car
  24     and peering into the window of the car that
  25     you saw at Rockland and Sunrise?

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       DEBRA SMITH                                                  March 22, 2011
                                                                                     136
   1                                   Smith
   2           A.     I was -- first of all, I got out of
   3     the car because I was investigating the
   4     scream.       I was going all over the place.                      I
   5     wasn't just going after that car.                    As a matter
   6     of fact, that was hindsight.
   7                  First I heard the scream.               Pulled my
   8     car over, I parked.             I got out of my car,
   9     walked by the trestle, was walking up the
  10     trestle because I thought the sound came from
  11     that direction, realized I could not make it
  12     because of my high heels.                I was not able to
  13     climb up there.           Also, realizing it was
  14     dangerous, I don't have sneakers.                    And the
  15     reason why I'm so bold is I'm a martial
  16     artist.       I'm very good at jujitsu.
  17                  And I just headed back down the
  18     trestle.       And now I said:           Wait a minute.
  19     Now, let's see if there's anything around
  20     here.       And then I started looking around, the
  21     general vicinity of things and into the car, I
  22     looked and peered in the car and I saw
  23     everything that was in the car.
  24           Q.     Now, this was still nighttime,
  25     correct?

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       DEBRA SMITH                                                  March 22, 2011
                                                                                     137
   1                                   Smith
   2           A.    Excuse me?
   3           Q.    It is still nighttime?
   4           A.    This is nighttime.
   5           Q.    Somewhere around 1 or 2 in the
   6     morning; correct?            I don't mean to put words
   7     in your mouth.          What time was it?
   8           A.    You know what?          I'm not sure.            I
   9     remember it being late.               1:00.
  10           Q.    But it was dark?
  11           A.    Well, you know --
  12           Q.    I'm not talking about the lights yet.
  13           A.    The trestle area is lit up.
  14           Q.    I'm saying the sky was dark, it was
  15     nighttime?
  16           A.    Yes.     Yes, it's night.
  17           Q.    Did you need a flashlight to look
  18     into the car?
  19           A.    No.    Because it's in an area that's
  20     pretty not that dark.              There are lights there.
  21     I remember it being -- I could see anything
  22     inside the car.
  23           Q.    That night you didn't report the fact
  24     that you heard the scream or saw the car;
  25     correct?

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           A.     If I reported every time I heard a
   3     scream or heard a noise or heard something, I
   4     would be carted off to the hospital, mental
   5     case number 101, into the hospital.                      Are you
   6     kidding?       I've got a mental health background.
   7     That's like a death sentence hanging over my
   8     head.       That's why my boyfriend didn't want me
   9     to call.       He said, "Debbie, don't bother with
  10     it."
  11           Q.     You said just a moment ago that
  12     you're good or an expert -- I'm not sure what
  13     you said -- jujitsu?
  14           A.     Not an expert.         Good at jujitsu.
  15           Q.     Where did you learn that?
  16           A.     At the Silent Flute.
  17           Q.     Is that the name of --
  18           A.     It's the name of dojo.
  19           Q.     Were you ever an Intelligence
  20     officer?
  21           A.     I was not an Intelligence officer.
  22     In 1980 I took the test -- not 1980.                       In 1977,
  23     March of 1977 I took the military test.                          Like
  24     an idiot, I signed all the forms they told me
  25     to sign.       And they had said I got such high

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       DEBRA SMITH                                                  March 22, 2011
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   1                          Smith
   2     scores on everything that I could pick
   3     whatever expertise I wanted. I said, "What
   4     would you pick?" He said Intelligence.
   5             So I picked military Intelligence
   6     army, designation and coding decoding. Okay.
   7     But like a fool, I just signed. Sign, sign.
   8     I didn't realize I signed myself into the
   9     military.
  10             Well, I was actually AWOL because I
  11     didn't go in when I was supposed to. And
  12     that's all my Intelligence career, went down
  13     the drain.
  14         Q. I may have been mistaken. So you
  15     didn't learn jujitsu --
  16         A. No. I learned jujitsu on my own.
  17         Q. Did you actually -- even though you
  18     didn't join the Intelligence division of the
  19     United States CIA or whatever --
  20         A. Right. Military Intelligence.
  21         Q. -- did you do work for the
  22     Intelligence agency?
  23         A. On the books, no.
  24         Q. I'm talking about off the books.
  25         A. No. I never worked for the

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     government.
   3           Q.    Did you work for somebody else
   4     besides the government as an Intelligence
   5     agent?
   6           A.    No.
   7           Q.    Were you ever shot down in a
   8     helicopter?
   9           A.    Was I shot down in a helicopter?
  10           Q.    Yes.
  11           A.    No.
  12           Q.    When you were flying a jet in Iraq,
  13     did that have anything to do with the
  14     Intelligence --
  15           A.    No.    It was out of Iran.
  16           Q.    I'm sorry if I misspoke.
  17           A.    It was out of Iran.             It came over to
  18     the U.S.A., North America where I landed it.
  19     I was very lucky they did not shoot me down.
  20     I landed it in the desert with the help of the
  21     American military.            They're the ones that
  22     needed my help because I did not have enough
  23     expertise in flying that particular bird.                            I
  24     only took private lessons in little things.
  25           Q.    I'm sorry if I'm confused.

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2           A.    I did not do that for the government.
   3     I did that as matter of survival.                    I took the
   4     plane to the United States Government and they
   5     happened to tell me that they didn't know that
   6     plane could do what I had done with it.
   7           Q.    Let me see if I understand.
   8                 You drove it -- flew it, excuse me --
   9     by yourself?
  10           A.    Yes.
  11           Q.    From Iran?
  12           A.    Yes.
  13           Q.    To Nevada?
  14           A.    Yes.     U.S.A.
  15           Q.    Nonstop?
  16           A.    Yes.
  17           Q.    Not for some military agency?
  18           A.    No.
  19           Q.    On your own?
  20           A.    Yes.     Whereupon, the American
  21     government kept it.
  22           Q.    And also kept what you had done
  23     secret?
  24           A.    No.    There was a diplomatic problem
  25     in the Middle East and they sent me back to

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     the Middle East in one of their fighter jets.
   3     He flew his fighter jet with me in the back.
   4           Q.    Who is he?
   5           A.    An American military pilot.                  Or might
   6     have been an Israeli.              I don't know what
   7     culture he is.          I didn't ask him.            I assumed
   8     he was American.           He told me the government is
   9     keeping the plane.
  10           Q.    How long did it take to fly from Iran
  11     to Nevada and Nevada back?
  12           A.    Oh, my God.         We were traveling almost
  13     the speed of light.             It was robbing Mach 4.
  14     You know how fast you move?
  15           Q.    I don't.       That's why I'm asking.
  16           A.    Since I was a passenger, I'll say, in
  17     the fighter jet, from that fighter jet back to
  18     the Middle East, I did it in about 15 minutes,
  19     20 minutes.
  20           Q.    And without refueling; correct?
  21           A.    No.    Probably didn't need to.                  We
  22     didn't have to refuel.
  23           Q.    We don't have to go into that much
  24     more detail about that, especially if it makes
  25     you uncomfortable.

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       DEBRA SMITH                                                  March 22, 2011
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   1                          Smith
   2              But was it in connection with those
   3     flights and the work that you did, helping a
   4     diplomatic crisis, that you met the President
   5     of the United States?
   6         A. No. I didn't meet the President.
   7         Q. You never met -- you have not met any
   8     of the presidents of the United States?
   9         A. Not as presidents, no.
  10         Q. Did you meet George Bush when he was
  11     not in office?
  12         A. He was director of the CIA.
  13         Q. And that's --
  14         A. That's when I met him. But he wasn't
  15     President at the time.
  16         Q. That's Senior?
  17         A. Yes. Senior.
  18         Q. What year was that?
  19         A. That was 1976. August.
  20         Q. Where was that?
  21         A. August '76.
  22         Q. Physically where were you when you
  23     met him?
  24         A. The Holiday Inn lounge across from
  25     Kings Point where I worked. That's Sunnyside

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     Boulevard, Plainview.
   3           Q.     Did this meeting have anything to do
   4     with the diplomatic crisis and the flying of
   5     the jets that we just spoke about?
   6           A.     Well, yes it did in a sense.                  Because
   7     he told me that he wanted his fighter jet
   8     back.       The American government lost a very
   9     valuable jet because it was connected with the
  10     Space Program or something.                 And he wanted to
  11     get it back and he thought my friends would
  12     know how to tell him to get it back.
  13                  And then -- I assumed that the stolen
  14     fighter jet that I took out of Iran, I had
  15     acquired the one that George Bush was missing.
  16                  I thought I did a big favor.                  He got
  17     back for free.          No expense to the government,
  18     the tax payers, no trouble.                 Crazy Debbie is
  19     flying it back.           You know, I think I did him a
  20     big favor.        I think he owes me one, personally
  21     speaking.
  22                  MS. CORNWALL:         Do you have any more
  23     questions?
  24                  MR. FREEMAN:        I don't think so.
  25     Anything else?          Just give us a minute.                 We may

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       DEBRA SMITH                                                  March 22, 2011
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   1                                   Smith
   2     need some cleanup.
   3                 (Brief recess taken.)
   4     BY MR. FREEMAN:
   5           Q.    Just a couple of questions, Ms.
   6     Smith.      I understand that, in addition to
   7     hearing a scream, that you believed that you
   8     also may have heard the sound of a shovel.                              Is
   9     that right?
  10           A.    Oh, yes.       Now I remember that.
  11           Q.    You remember?
  12           A.    Yes.     That creepy sound of the
  13     shovel.
  14           Q.    Getting back to your conversation
  15     with Mary Schembri, the investigator.                        You say
  16     that you haven't read much about this case in
  17     the newspapers or anyplace else, right?
  18           A.    No, I haven't.
  19           Q.    Did Ms. Schembri tell you where the
  20     body was found?
  21           A.    She said it was found underneath a
  22     bunch of those pallets, I think.
  23           Q.    And did she say where in relation to
  24     your testimony, where in relation to where you
  25     say you heard the scream, the body was found?

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       DEBRA SMITH                                                  March 22, 2011
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   1                          Smith
   2         A. Not so much the scream. But she
   3     mentioned that it was not far from Rockland
   4     and Sunrise on the north side of the highway.
   5         Q. And did she tell you about the
   6     condition of the body when it was found?
   7         A. No. Not that.
   8         Q. Did she tell you anything with
   9     respect to DNA evidence?
  10         A. No.
  11         Q. Did you know about Hot Skates? I
  12     know you mentioned it?
  13         A. I know it's a skating rink right
  14     there.
  15         Q. But did you know it at the time? In
  16     other words, in 1984 did you know what Hot
  17     Skates was?
  18         A. Oh, yeah.
  19         Q. Did you talk about Hot Skates with
  20     the investigator? Did she mention Hot Skates
  21     during her talk with you?
  22         A. I think she mentioned that Theresa
  23     was working at Hot Skates and leaving Hot
  24     Skates walking home.
  25         Q. Is that where you learned it from,

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       DEBRA SMITH                                                  March 22, 2011
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   1                         Smith
   2     from your conversation with Mary Schembri?
   3         A. Yes. Yes. Just, you know, a month
   4     and a half ago, two months ago.
   5             MR. FREEMAN: I have nothing further.
   6             MS. CORNWALL: Nor do I.
   7             Thanks so much for coming in.
   8             THE WITNESS: You're welcome.
   9             (Time noted: 1:25 p.m.)
  10
  11
                                _________________________
  12                               DEBRA SMITH
  13
         Subscribed and sworn to before me
  14     This _____ day of ________, 2011.
  15
         _________________________
  16          NOTARY PUBLIC
  17
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  19
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       DEBRA SMITH                                                  March 22, 2011
                                                                                     149
   1
   2
   3                    C E R T I F I C A T I O N
   4
   5                        I, HELGA CHRISTIANE LAVAN, a
   6     Shorthand Reporter and notary public, within
   7     and for the State of New York, do hereby
   8     certify:
   9                        That DEBRA SMITH, the witness
  10     whose examination is hereinbefore set forth,
  11     was first duly sworn by me, and that
  12     transcript of said testimony is a true record
  13     of the testimony given by said witness.
  14                        I further certify that I am not
  15     related to any of the parties to this action
  16     by blood or marriage, and that I am in no way
  17     interested in the outcome of this matter.
  18
  19                        IN WITNESS WHEREOF, I have
  20     hereunto set my hand this                       day of
  21     , 20__.
  22
  23                                _____
  24                          HELGA CHRISTIANE LAVAN, Reporter
  25


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   4      Our Assignment No.      318667
   5      Case Caption:     Restivo v. Nassau County
   6
   7                       DECLARATION UNDER PENALTY OF PERJURY
   8                   I declare under penalty of perjury that I have
   9      read the entire transcript of my Deposition taken in the
  10      captioned matter or the same has been read to me, and the
  11      same is true and accurate, save and except for changes
  12      and/or corrections, if any, as indicated by me on the
  13      DEPOSITION ERRATA SHEET hereof, with the understanding
  14      that I offer these changes as if still under oath.
  15
  16      Signed on the ______ day of____________, 20___.
  17
  18      ___________________________________
  19                    DEBRA SMITH
  20
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